Case 4:17-cv-00293-TCK-JFJ jPocument 2 Filed in USDC ND/OK on 05/24/17 Page 1 of 100

OK /

 

 

 

eA\L FILRB

UNITED STATES DISTRICT COURT Sf Ru f
NORTHERN DISTRICT OF OKLAHOMA MAY 94 2017

 

) Mark C. McUartt, Clerk
UNITED STATES ex rel. ) U.S. DISTRICT COUR
Daron Street, M.D. and R. Steven Paulson, _)
M.D. )
) V6
Plaintiff ) 17CV 293CVE -_3
) Case No. - 7 ue
V. )
) FILED UNDER SEAL
| GENENTECH, INC. )
)
Defendant )
COMPLAINT
(Jury Trial Demanded)

The United States of America, through Relators Daron Street and R. Steven Paulson
(“Relators”), brings this action against Genentech, Inc. under the False Claims Act, 31 U.S.C. §§
3729 et seq. (“FCA”), to recover damages sustained by, and penalties owed to, the United States
for Genentech’s false claims regarding federal purchases of Herceptin, a breast-cancer drug. As a
result of those false claims, the United States has paid for more Herceptin than it actually received
from Genentech and has been required to purchase more vials of Herceptin than necessary for
federal purposes.

NATURE OF ACTION

L This is an action to recover damages and civil penalties on behalf of the United
States for violations of the False Claims Act arising from false statements and claims made by
Genentech regarding Herceptin sold to the United States.

2. Herceptin is developed, manufactured, and marketed by Genentech.

{1682128} 1

.
vey
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 2 of 100

3. Genentech falsely stated the mass of Herceptin sold to purchasers, including the
United States. Genentech labels each Herceptin vial as containing 440 mg of its active ingredient,
Trastuzumab.

4. Genentech regularly manufactures and distributes vials containing less than 440 mg
of Trastuzumab.

5. Either through its distributors or directly, Genentech distributed under-filled vials
to Relators and other purchasers, including the United States. Genentech charges purchasers for
the labeled amount of Herceptin despite knowing it does not provide the labeled amount of
Herceptin in the vast maj ority of the Herceptin packages.

6. Through this misconduct, Genentech knowingly (1) presented, or caused to be
presented, false or fraudulent claims for payment to the United States in violation of the FCA, 31
U.S.C. § 3729(a)(1), and (2) made, used, or caused to be made or used, a false record or statement
material to a false or fraudulent claim for payment to the United States in violation of the FCA, 31
U.S.C. § 3729(a)(1)(B).

7. As the result of these false claims, the United States has suffered damages, and
Genentech is liable for three times the damages sustained by the federal government. Genentech
is also liable for a civil penalty of not less than $10,781 and up to $21,563 per violation after
August 1, 2016 and not less than $5,500 and up to $11,000 per violation before August 1, 2016.
31 U.S.C. § 3729(a), as amended by 81 Fed. Reg. 26127, 26128 (2016).

JURISDICTION AND VENUE
8. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 and 28 U.S.C. § 1345.

{1682128;} 2
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 3 of 100

.

9. Relators do not believe the facts and circumstances of Genentech’s violation of the
FCA have been publicly disclosed in a criminal, civil, or administrative hearing, or in a
congressional, administrative, General Accounting Office, or Auditor General’s report, hearing,
audit, or investigation, or in the news media. 31 U.S.C. § 3730(e).

10. Even if public disclosure had occurred, Relators qualify as original sources under
31 U.S.C. § 3730(e)(4)(B) because they have independent knowledge that materially adds to any
public disclosure and they have provided this information to the United States before filing this
action.

11. This Court has personal jurisdiction over Genentech, and the Northern District of
Oklahoma is a proper venue pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C. § 1391(b) because
Genentech transacts business in this district.

PARTIES

12. Relator Daron Street, M.D., is a resident of Oklahoma. Relator Street holds a
license to practice medicine in the State of Oklahoma, is qualified, skilled and experienced in
providing medical services in his specialty fields of Obstetrics & Gynecology and Gynecologic
Oncology, and is an employee and officer of Oklahoma Cancer Specialists and Research Institute,
LLC.

13. Relator R. Steven Paulson M.D., is a resident of Texas. Relator Paulson holds a
license to practice medicine in the State of Texas, is qualified, skilled and experienced in providing
medical services in his specialty fields of Hematology and Medical Oncology, and is President and
Chairman of Texas Oncology, P.A.

14. | Genentech is a California corporation with corporate headquarters located at 1

DNA Way, South San Francisco, California 94080. Genentech is a biotechnology company that

{1682128;} 3
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 4 of 100

develops, manufactures, and commercializes medicines, including Herceptin. Genentech has sold
Herceptin to Oklahoma Cancer Specialists and Research Institute, LLC and Texas Oncology, P.A.
(“Relators’ Companies”) and the United States, among others. Since 2009, Genentech has been a
wholly-owned part of the Roche Group. The Roche Group is a multi-national conglomerate with
its headquarters in Basel, Switzerland.

15. | Genentech’s reported net sales of Herceptin in the United States have been: $1.6
billion in 2010; $1.4 billion in 2011; $1.7 billion in 2012; $1.8 billion in 2013; $2.0 billion in 2014;
$2.4 billion in 2015; and $2.5 billion in 2016, totaling sales of $13.4 billion over the past seven
years.

FALSE CLAIMS ACT

16. |The FCA imposes liability on any person who “knowingly presents, or causes to be
presented, a false or fraudulent claim for payment or approval” to the federal government. 31
US.C. § 3729(a)(1)(A).

17. The FCA also imposes liability on any person who “knowingly makes, uses, or
causes to be made or used, a false record or statement material to a false or fraudulent claim” to
the federal government. 31 U.S.C. § 3729(a)(1)(B).

18. | Under the FCA, “knowingly” means that with respect to the information at issue, a
person (i) has actual knowledge of the information, (ii) acts in deliberate ignorance of the truth or
falsity of the information, or (iii) acts in reckless disregard of the truth or falsity of the information.
31 U.S.C. § 3729(b)(1)(A). No proof of specific intent to defraud is required to show that a person
acted knowingly under the FCA. 31 U.S.C. § 3729(b)(1)(B).

19. Under the FCA, the United States may recover three times the amount of damages

it sustained (treble damages), plus a civil penalty for each false claim. 31 U.S.C. § 3729(a). The

{1682128;} 4
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 5 of 100

.

civil penalty is to be not less than $10,781 and not more than $21,563 per violation. 31 U.S.C. §
3729(a), as amended by 81 Fed. Reg. 26127, 26128 (2016).
FACTUAL ALLEGATIONS
Genentech manufactures and markets Herceptin, a breast-cancer drug.

20. Herceptin is a patent-protected medication used to treat patients with early stage,
advanced, and metastatic breast cancer and tumors that overexpress the HER2 neu receptor.
Herceptin is widely used to treat breast cancer patients whose tumors overexpress the HER2 neu
receptor, roughly 15-20% of breast cancer patients. For these patients, treatment with Herceptin in
combination with other drugs is the standard of care because it improves their survival or decreases
the chances of breast cancer recurrence. The FDA approved Herceptin as an adjuvant therapy for
early stage and advanced breast cancer patients and for metastatic breast cancer patients, as well
as gastric cancer patients who overexpress the HER2 neu receptor.

21. Herceptin is the most widely used cancer medication currently on the market that
effectively treats metastatic breast cancer and tumors that overexpress the HER2 neu receptor.

22. | Genentech develops, manufactures, and markets Herceptin.

Genentech sells Herceptin to the United States.

23. Genentech contracts with a closed network of authorized distributors to service
customers through the “buy and bill” model. Through this distribution model, customers purchase
Herceptin through authorized distributors. These distribution partners agree to distribute only
products purchased directly from Genentech and not distribute Herceptin through secondary
channels.

24. Since 1998, Relators’ Companies have purchased Herceptin to use in the treatment

of their patients.

{1682128;} 5
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 6 of 100

25. | Genentech maintains a list of authorized distributors for federal purchasers. See
Genentech Herceptin Product Distribution Webpage, available at https://www.genentech-
access.com/hcp/brands/herceptin/learn-about-our-services/product-distribution.html (last visited
May 16, 2017), Ex. 1. These distributors include AmerisourceBergen Drug Corporation, Cardinal
Health Specialty Distribution, Dakota Drug, DMS Pharmaceutical, and McKesson Plasma and
Biologics. See id.

26. —_In the third quarter of 2004, 1% of Herceptin sales were to federal facilities. See
Abt Associates Inc., Sales of Drugs and Biologicals to Large Volume Purchasers at 19 (Exhibit
4.1), 20 (Exhibit 4.2) (Dec. 15, 2005) (Ex. 2 hereto), available at https://www.cms.gov/Research-
Statistics-Data-and-Systems/Statistics-Trends-and-Reports/Reports/downloads/wrobel3.pdf.

27. Since July 1, 2008, the United States has entered into over 50 contracts and grants
to purchase Herceptin. USASpending.Gov Data Search for Herceptin (Ex. 3), available at
http://tinyurl.com/USASpendingGovHerceptin (last visited May 16, 2017). For example:

a. On April 11, 2012, the Department of Defense (“DOD”) entered in to a
$40,686.47 contract with Cardinal Health to purchase Herceptin 440 MG MDV.
(Award No. SPM2DX10D0028). See USASpending.Gov Data Search for
Herceptin. (Ex. 4.)

b. On June 23, 2014, the DOD entered into a $30,216.41 contract with Cardinal
Health to purchase Herceptin 440 MG MDV 1S. (Award No.
SPM2DX10D0028). See USASpending.Gov Data Search for Herceptin. (Ex.
5.)

c. On August 4, 2014, the DOD entered in to a $66,570.05 contract with Cardinal
Health to purchase Herceptin 440 MG MDV 1S. (Award No.
SPM2DX10D0028). See USASpending.Gov Data Search for Herceptin. (Ex.
6.)

28. On September 30, 2016, the United States Department of Veterans’ Affairs (the

“VA”) awarded Genentech a five-year contract worth $3,850,225,230.00 for the purchase of

{1682128;} 6
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 7 of 100

.

Herceptin. See National Acquisition Center (CCST) Award Page (Ex. 7); FedBizOpps Award
Notice (Ex. 8), available at https://www.fbo.gov/index?s=opportunity&mode=form&tab=core&i
d=a7acd54cd420422dc4d372a529f1e69c (last visited May 16, 2017).

29. At least as early as December 2014, the VA included a monograph for Herceptin in
its National Formulary. See National Drug Monograph for Trastuzumab (Herceptin) (Ex. 9),
available at https://www.pbm.va.gov/clinicalguidance/drugmonographs/Trastuzumab _
HERCEPTIN_monograph.pdf (last visited May 23, 2017).

30. Other specific federal purchases will be identified in Genentech’s records and the

records of Genentech’s authorized distributors.

The Herceptin Label makes inaccurate claims regarding the contents of the vial and
concentration of reconstituted Herceptin.

31. Herceptin is manufactured as a lyophilized (dehydrated and “freeze-dried” powder)
medicine which is delivered in vials, labeled by Genentech as containing 440 milligrams (mg) of
Trastuzumab (the active ingredient in Herceptin). The Herceptin product is mixed with a liquid
(diluent), also provided to end users by Genentech. The mixing process is accomplished by
injecting the diluent into the vial containing the lyophilized Herceptin.

32. This mixing process reconstitutes each vial of Herceptin cake into a multi-dose
liquid solution.

33. In 1998, as a part of its lengthy Biologics License Application (“BLA”) for
Herceptin, Genentech submitted to FDA a proposed label and Prescribing Information (the
“Label”) for Herceptin. The FDA approved the BLA.

34. The 1998 Label claimed that the vial contained 440 mg of Trastuzumab and

provided a Preparation for Administration section that instructed: “Each vial of HERCEPTIN

{1682128;} 7
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 8 of 100

should be reconstituted with 20mL of [Bacteriostatic Water for Injection] as supplied, to yield a
multi-dose solution containing 21 mg/mL Trastuzumab.”

35. | Genentech has modified the Herceptin Label several times since 1998.

36. | Each Herceptin Label has claimed that the vial contained 440 mg of Herceptin and
that reconstitution with 20 mL of Bacteriostatic Water for Injection would yield a multi-dose
solution containing 21 mg/mL of Herceptin.

37. With the sale of each vial of Herceptin to the United States, Genentech claims that
(1) the vial contains 440 mg of Herceptin, and (2) if a healthcare provider follows the instructions
for reconstitution on the Herceptin Label, the resulting multi-dose liquid solution is concentrated
at a density of 21 mg of Herceptin per milliliter (mL) of solution.

38. 440 mg reconstituted into a liquid solution with a density of 21 mg/mL would result

in 20.952 mL of liquid solution: 440 mg divided by 21 mg/mL.

The vast majority of Herceptin vials sold in the United States
contain less drug than the labeled 440 mg.

39. Relators have discovered that Genentech regularly fills vials sold in the United
States with less than 440 mg of Herceptin.

40. | Approximately 90% of the lots of Herceptin released in the United States contained
less than 440 mg of Herceptin.

41. | Given the systematic under-filling of vials, many Herceptin vials purchased by the
United States contained less Herceptin than the amount claimed by Genentech and for which the
United States paid.

. The concentration of reconstituted Herceptin is 22 mg/mL, not 21 mg/mL.
42. Relators have discovered that, in 2002, Genentech’s Herceptin Production Engineer

stated in an internal Genentech email that the actual concentration of reconstituted Herceptin was

{1682128;} 8
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 9 of 100

21.8 mg/mL, not the 21 mg/mL claimed by Genentech’s Label. See Email from Tom White to
Olivia Ware (Sept. 25, 2002) (Ex. 10).

43. Healthcare providers are required to follow the Label instructions in calculating the
proper dosage of Herceptin to give their patients. The United States thus relies on Genentech’s
claim regarding the concentration of the reconstituted Herceptin solution when determining the
proper dosage to administer to each patient. For example, a person weighing 75 kg should receive
200 mg of Herceptin for her initial dose. To administer 200 mg of Herceptin, the United States
would provide 9.52 mL of liquid solution (i.e., 200 mg divided by 21 mg/mL). If the Label stated
a concentration of 21.8 mg/mL, then the United States would provide the patient 9.17 mL of the
liquid solution (i.e., 200 mg divided by 21.8 mg/mL).

44. By misstating the concentration, Genentech causes Relators and other purchasers—
including the United States—to administer more Herceptin than necessary to patients and to
purchase more Herceptin than they would otherwise purchase.

45. If Genentech stated the accurate concentration of the reconstituted Herceptin
solution on the Herceptin Label, Relators and the United States would purchase fewer Herceptin
vials.

Herceptin vials do not yield 20.952 mL of liquid solution.

46. Relators have discovered that when healthcare providers follow the Preparation of
Administration instructions provided by Genentech, a vial of Herceptin does not yield 20.952 mL
of liquid solution.

47. | When they follow Genentech’s instructions, Relators’ Companies cannot obtain

more than 20.2 mL of liquid solution from a vial of Herceptin.

{1682128;} 9
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 10 of 100

48. Relators and the United States receive less drug product than the claims on
Genentech’s label promise they should receive.

Genentech knew the claims on the Herceptin Label were false.

49. | Genentech knew that most Herceptin vials sold in the United States did not contain
440 mg of Herceptin.

50. At a hearing in related litigation, Genentech’s lead counsel stated that Genentech
had produced to the plaintiffs certificates of analysis showing that “in every lot [of Herceptin]
released in the United States, we were below 440. Almost every. Ninety percent, I think they said.
So we knew.” (emphasis added). Nov. 17, 2016 Discovery Hr’g Tr. at 43:9-12, in In re Genentech
MDL, Case No. 16-md-2700 (N.D. Okla. Nov. 17, 2016) (Ex. 11).

51. | Genentech’s lead counsel further stated that Genentech had produced its “own
manufacturing documents that show we’re below 440, in [plaintiffs’] words, 90 percent of the
time.” Jd. at 43:16-18.

52. | Genentech also knew that it misstated the concentration of Herceptin. In 2002,
Genentech’s Herceptin Production Engineer stated the actual concentration of reconstituted
Herceptin was 21.8 mg/mL, not the labeled 21 mg/mL. (See Ex. 10.)

53. Because Genentech knew that the vast majority of Herceptin vials sold in the United
States do not contain 440 mg of Herceptin, it also knew that the vials would not yield 20.952 mL
of liquid Herceptin solution. Similarly, because Genentech also knew that its Label did not
accurately state the concentration of reconstituted Herceptin, it knew that the vials would not yield

20.952 mL of liquid Herceptin medicine.

{1682128;} 10
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17

?

CLAIMS FOR RELIEF
Count 1:
Violations of the False Claims Act, 31 U.S.C. § 3729(a)(1),
by Submission of False Claims

54. Relators re-allege and incorporate herein by reference paragraphs 1 through 53.

55. By representing to the United States that each Herceptin vial contained 440 mg of
Herceptin when Genentech knew the vast majority of Herceptin vials sold in the United States
contain less than that amount, Genentech knowingly caused false or fraudulent claims for payment
to be presented to the United States in violation of the FCA, 31 U.S.C. § 3729(a)(1). As a result,
the United States paid false claims that were inflated or not entitled to be paid.

56. In addition or in the alternative, by representing to the United States that after
preparation according to Genentech’s instructions, reconstituted Herceptin is concentrated at 21
mg/mL when Genentech knew the concentration level of 21mg/mL was not accurate, thus
requiring the United States to purchase more Herceptin than it needed, Genentech knowingly
caused false or fraudulent claims for payment to be presented to the United States in violation of
the FCA, 31 U.S.C. § 3729(a)(1). As a result, the United States paid false claims that were inflated
or not entitled to be paid.

57. In addition or in the alternative, by representing to the United States that each
Herceptin vial would yield 20.952 mL of liquid solution when Genentech knew the vials would
yield less than that amount, Genentech knowingly caused false or fraudulent claims for payment
to be presented to the United States in violation of the FCA, 31 U.S.C. § 3729(a)(1). As a result,
the United States paid false claims that were inflated or not entitled to be paid.

58. Asa result of these false claims, the United States suffered damages in an amount

to be determined at trial. Pursuant to the FCA, Genentech is liable for three times the damages

{1682128;} 11

Page 11 of 100
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 12 of 100

sustained by the federal government, plus a civil penalty of not less than $5,500 and up to $11,000
for sales prior to August 1, 2016 and for higher amounts after August 1, 2016. 31 U.S.C. § 3729(a),
as amended by 81 Fed. Reg. 26127, 26128 (2016).
Count 2:
False Claims Act, 31 U.S.C. § 3729(a)(1)(B), by Making or Using False
Records or Statements Material to a False or Fraudulent Claim

59. Relators re-allege and incorporate herein by reference paragraphs 1 through 58.

60. By représenting to the United States that each Herceptin vial contained 440 mg of
Herceptin when Genentech knew the vast majority of Herceptin vials sold in the United States
contain less than that amount, Genentech knowingly made, used, or caused to be made or used, a
false record or statement material to a false or fraudulent claim for payment to the United States
in violation of the FCA, 31 U.S.C. § 3729(a)(1)(B). As a result, the United States paid false claims
that were inflated or not entitled to be paid.

61. In addition or in the alternative, by representing to the United States that after
preparation according to Genentech’s instructions, reconstituted Herceptin is concentrated at 21
mg/mL when Genentech knew the concentration level of 21 mg/mL was not accurate, thus
requiring the United States to purchase more Herceptin than it needed, Genentech knowingly
made, used, or caused to be made or used, a false record or statement material to a false or
fraudulent claim for payment to the United States in violation of the FCA, 31 U.S.C. §
3729(a)(1)(B). As a result, the United States paid false claims that were inflated or not entitled to
be paid.

62. In addition or in the alternative, by representing that each Herceptin vial would
yield 20.952 mL of liquid solution when Genentech knew the vials would yield less than that

amount, Genentech knowingly made, used, or caused to be made or used, a false record or

{1682128;} 12
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 13 of 100

‘

statement material to a false or fraudulent claim for payment to the United States in violation of
the FCA, 31 U.S.C. § 3729(a)(1)(B). As a result, the United States paid false claims that were
inflated or not entitled to be paid.

63. Asaresult of these false claims, the United States suffered damages in an amount
to be determined at trial. Pursuant to the FCA, Genentech is liable for three times the damages
sustained by the federal government, plus a civil penalty of not less than $5,500 and up to $11,000
for sales prior to August 1, 2016 and for higher amounts after August 1, 2016. 31 U.S.C. § 3729(a),
as amended by 81 Fed. Reg. 26127, 26128 (2016).

Potential Damages

64. Relators cannot determine the amount of actual damages owed by Genentech to the
United States until more information is obtained through discovery. However, based on publicly
available information reviewed by Relators to date, those damages will be substantial.

65. For example, in September 2016, Genentech and the VA entered into Federal
Supply Schedule contract number V797D-60724 for the sale of Herceptin. (See Exs. 7, 8.)
Genentech agreed to sell Herceptin to the VA at a price of $4,000.34 per vial. (Ex. 7.) According
to the Award Notice, the VA expects to spend approximately $3,850,225,230.00 over the next five
years to purchase Herceptin. (Ex. 8.) This equates to an average expected cost of $770 million per
year.

66. Based on these estimated costs, the VA anticipates purchases of 192,483 vials of
Herceptin per year ($770 million at $4,000.34 per vial). This estimate presumably is based on data
from the VA’s past purchases of Herceptin.

67. | Assuming VA purchases at those levels, under-filling vials of Herceptin by 3%

would cause damages of $23.1 million per year, to be trebled under the FCA.

{1682128;} 13
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 14 of 100

68. Again utilizing these estimates, the VA alone purchases approximately 1,154,898
Herceptin vials over a six-year period. An FCA penalty of $11,000 per vial would support a total

penalty of $12,703,878,000.00.

REQUEST FOR RELIEF
WHEREFORE, Relators, on behalf of the United States, request judgment be entered in
favor of the United States and against Genentech, awarding treble damages, all civil penalties
permitted per false claim, and awarding Relators the maximum percentage of recovery as well as
their costs incurred in this action, all together with pre- and post-judgment interest, and any and

all other and further relief as the Court may deem just and equitable.

{1682128;} 14
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 15 of 100

DATED: May 24, 2017

{1682128:}

 

David E. Keglovits, OBA #14259
Steven J. Adams>OBA #142
Amelia A. Fogleman, OBA #16221
Adam C. Doverspike, OBA #22548
James Wesley Scott Pebsworth, OBA
#30900

GABLEGOTWALS

1100 ONEOK PLAZA

100 West 5th Street, Suite 1100
Tulsa, Oklahoma 74103

Telephone (918) 595-4800
Facsimile (918) 595-4990

dkeglovits@gablelaw.com
sadams@gablelaw.com
afogleman@gablelaw.com
adoverspike@gablelaw.com
wpebsworth@gablelaw.com

ATTORNEYS FOR PLAINTIFF

15
(Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 16 of 100

EXHIBIT 1
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 17 of 100

(/hendpraaderherseetach?! si) uTions

trastuzumab MENU

Herceptin® (trastuzumab)

 

Herceptin Distribution

Authorized Distributors (.tab-1)
Buy and Bill (.tab-2)

Spoilage Replacement Program (.tab-3)

Authorized Distributors

Genentech has contracted with a network of authorized distributors to service
customers who choose to purchase Herceptin through the buy and bill

model. Through the streamlined distribution model, customers purchase
Herceptin through authorized distributors that have made a commitment to
product integrity. These partners have agreed to distribute only products

purchased directly from Genentech and not distribute Herceptin through
secondary channels.

Distributors for Federal Accounts

Distributor Telephone Fax
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 18 of 100

 

AmerisourceBergen Drug
Corporation

844-222-2273

816-464-4140

 

Cardinal Health Specialty
Distribution

800-926-3161
270-219-6000
(KY)
501-707-2800
(AR)

N/A

 

Dakota Drug

866-210-5887

763-421-0661

 

DMS Pharmaceutical

877-788-1100

847-518-1105

 

McKesson Plasma and
Biologics (MPB)

 

 

877-625-2566

 

888-752-7626

 

Distributors for Hospitals

Distributors for Physician Offices and Federally Qualified Health Centers

Distributors for Authorized Specialty Pharmacies

Distributors for Puerto Rico

 
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 19 of 100

Genentech does not influence or advocate the use of any one specialty =
distributor or specialty pharmacy. We make no representation or

guarantee of service or coverage of any item.

Learn About Treatment With Herceptin >
(http://www.herceptin.com/hcp/)

ie

Download the forms you need to get started
View Herceptin Forms and Documents >
(/ncp/brands/herceptin/forms-and-documents.html)

Latest Updates

Form:
Statement of Medical Necessity (SMN)
Learn More > (/hcp/brands/herceptin/forms-and-documents.html)

Form:
Patient Authorization and Notice of Release of Information (PAN)
Learn More > (/hcp/brands/herceptin/forms-and-documents.html)
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 20 of 100

Genentech

A Member of the Roche Group
(https://www.gene.com)

Contact Us (/hcp/brands/herceptin/contact-us.html) |
Site Map (/hcp/brands/herceptin/site-map.html) |
Privacy Policy (http://www.gene.com/privacy-policy) |

Terms & Conditions (http://www.gene.com/terms-conditions)

©2017 Genentech USA, Inc. All rights reserved. This site is intended for US residents only.

The Access Solutions logo is a registered trademark of Genentech, Inc.

For assistance, call Patient Assistance Tool >
(888) 249-4918 (/hcp/brands/herceptin/find-patient-
assistance.html)
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 21 of 100

EXHIBIT 2
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 22 of 100

‘

 

Abt Azsuedates Luc.

Cambridge, MA
Lexington, MA
Hadley, MA
Bethesda, MD
Chicago, IL

‘Abt Associates Inc.
55 Wheeler Street
Cambridge, MA 02138

>PRIME Institute
University of Minnesota
308 Harvard Street
Minneapolis, MN 55455

Sales of Drugs and
Biologicals to Large
Volume Purchasers

Final Report

Contract #XXX-XX-XXXX
Task Order 1

December 15, 2005

Prepared for

Usree Bandyopadhyay

Centers for Medicare &
Medicaid Services

Mail stop c3-20-17

7500 Security Boulevard

Baltimore, MD 21244

Prepared by

Marian V. Wrobel

Stephen W. Schondelmeyer’
Susan Jureidini

Shuchita Agarwaf

Rachel Sayko'

AC. Doyle’
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 23 of 100

Contents
Executive Summa ry............::ccccsccccsscssessseecessececsnsecsusecesssensecseseesesncesesnceeessscescssageetsseeenseeceee® ES-1
1.0 Tntroduction......e eee ceeceseeeececceeenecensseeeseccesesseaeecesaeeeesssdeessssescessaseessseeesoosseens ecereoeeeeeee 1
1.1 Motivation for Study ..............ccssssccecssssensccsscssencecesesscsceserseseseesenensessceeeetsensssenseesoeses 1
1.2 Study Questions ..............csssscccsscssesesescsssreasessesssncecesssessnscasesssssanecerssssnseserseoessseseesenes 1
2.0 Methods .0.......cescsssccssscccssecesscesssesseesesesessseeseseessensesscsseecssesessesssneesesessssesssuscessesesesesssesoeeons 3
2.1 Overview of the Research Design .............:scccssssccssssccesensncccescessncceeseseeeesscseseonseeeessaeees 3
2.2 Strengths and Limitations of the Research Data...............::ccccsssssscssesssssnseseesevscsneceeteees 3
2.3 Selection of Six HCPCs for Primary Data Collection and Focused Review................--+- 5
2.4 Interviews and Primary Data Collection ...............:csccccsssssssssescsseneeseesetsneeesceserstsnseeeeees 6
2.5 Secondary Data on Drug Prices............csssessccsssesesscecseescesessssessecssssssesssoossesssseoneesooes 8
3.0 Results: ImterviewS.................:ccesscescesecccessececeseaceceecsesscaseessssacessssseesseseessseesesssesseesseesoosaeens 11
3.1 Distribution Process...............csssscsssssccsssescessncecsssscscnseasesssanesenseseessesecceseseeesesersenesens 11
3.2 Access to Special Pricing Terms and Rebates...............:cccssssccssssceesessecesssscessscseeeenesens 12
3.3. Variation in Net Acquisition Costs ............::cccccsssscsscscsssssscsscesesssrsnsesseossnsaserersssenenss 14
4.0 Results: Secondary Data AnalySis ............:.cccsscssccecssessssesesscsnnnccessonseneescessosneseceesercoseceeees 16
4.1 Major Purchasets..............:ccssscsssscssessseccsscsesseesscesssccssssesssessssccssessssecesssscossessussosees 17
4.2 Average Invoice Prices...........sssccccssssseccceesssnecscsssssnecseeessssecessesessenecesecsengussenseessenses 21
5.0 Results: Primary Data on Invoice Prices ...........:cccsssccsessssccessrecssssccessnscevssecessenscesesnasensenees 23
6.0 Summary and Discussion. ...........cccccccssescccssrsccsssscscssuscscsesecscensessesscecesseseessacecssacsevsnaasessnees 23
6.1 SUMMATY ..... ee eeeeserneeesecstsneceesessnesccssssaneasessscsssneesessessnsssessesssnensessscoesseesersessrsceeses 24
6.2 — DisCUSSiON ..............eesesccccesesseccceeesnseseccssencaseseesesencaseseeecaeseseecesceseesenenseseeeeteseessoeeees 26
Appendix A: List of ACTOnYMS ...........:.cccssccscsecesssscessescerssscesecssseescssscesssscesesacssssenascescnassosssnenees A-1
Appendix B: Interview Methods ...............ssccssccssssccesscesscesscceesesscceeesscesssesesseessceesseeecseeensnsenes B-1
Appendix C: Interview Respondents .................c:ccsssceceessetessceetensneeeessceceesanceeessoeseeseesensscesenseuegs C-1
Appendix D: Top 35 Medicare HCPCs, 2003 .000.......:sscsssecccceseseceeesseeeesceeesscceeesssneeeossceseesesees D-1
Appendix E: Subcategories of IMS’ Classes Of Trade ...........s:sccssessccssersecssscsccsssrsceenstecssnsescesessenes E-1
Appendix F: Average Invoice Price per Dose (AIP) by Class of Trade, 25 Study HCPCs............ F-1

Appendix G: Variation from the All-Class Average Invoice Price per
Dose (AIP) by Class of Trade, 25 Study HCPCS............:cccssccssscssesccsscsssscceseecssseeessecessensesneers G-1

Appendix H: Average Invoice Price per Dose (AIP) by Major Class of Trade, Comparison
of All-Class Weights and Class of Trade- Specific Weights, 25 Study HCPCS.............ssccsseees H-1

 

Abt Associates Inc. Contents i
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 24 of 100

Executive Summary

Background and Methods

The Medicare Prescription Drug, Improvement, and Modernization Act (MMA) of December 2003
reformed CMS’ payment approach for the prescription drugs covered by Part B of Medicare. As of
January 1, 2005, payment for these drugs is a function of “average sales price’(ASP), a manufacturer-
reported measure that is based on actual manufacturer revenues. The specific payment amount is 106
percent of the ASP. As part of this reform, the MMA required the Secretary of Health and Human
Services (HHS) to submit a report to Congress on the sales of drugs and biologicals to large volume
purchasers (LVPs) to determine whether prices paid by LVPs are similar to the prices available to
prudent physicians and to assess whether exclusion of LVPs would affect the computation of a
manufacturer’s average sales price. The current study is intended to provide background to the
Secretary of HHS as a basis for preparing the report to Congress.

For this study, the project team conducted interviews with market participants, analyzed primary
invoice data submitted by the purchasers, and analyzed secondary data from the IMS Health’s
National Sales Perspectives database (NSP). The project team also requested data on ASP by class of
trade from manufacturers, but no manufacturer complied with this request. The project data came
from months early in, and, in some cases, preceding the ASP period; the interview and invoice data
were collected in the spring of 2005 and the IMS data draws on invoices from the third quarter of
2004.

Study Limitations

In order to undertake any study, one must have access to adequate data. While the project team made
a significant effort to acquire the best available data for this report, the available data had significant
limitations that prevented the study from drawing conclusions on the primary questions of interest.
The data limitations included:

e Sample sizes were small in both the interviews and the primary invoice data, due to a
combination of low target numbers of respondents and low response rates. Ultimately, the
project relied on 36 interviews and on invoices from six physicians’ offices and twelve
hospitals.

e Some interviews were incomplete or difficult to interpret, due to the sensitivity and
complexity of the material.

e Data on the net acquisition cost by type of purchaser or average sales price by type of
purchaser were not available due to a number of factors discussed below.

e By nature, both the primary and secondary invoice data lacked information on special pricing
terms and manufacturer rebates. A provider’s net acquisition cost is its invoice price less any
special pricing terms and rebates. A manufacturer’s ASP is its average invoice price less the
average of any wholesaler or distributor mark-ups less the average of all purchaser and non-
purchaser rebates.

e The secondary invoice data had additional limitations. It was aggregated according to broad
classes of trade, many of which contained multiple sub-categories of purchasers believed to

 

Abt Associates Inc. Executive Summary ES-1
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 25 of 100

receive differential pricing. It also consisted of average prices only and did not provide
measures of price dispersion within classes of trade.

e No manufacturer submitted complete data on ASP by class of trade for a focus drug.

e The study data were collected prior to or very shortly after the implementation of ASP-based
payment. The market for the drugs covered by Part B of Medicare is very dynamic and is
still adjusting to the new environment created by the MMA.

e Classes of trade were not well defined. The definitions of the various types of classes are not
clear and consistent among market participants, and market participants’ working definitions
of the classes of trade are not necessarily consistent with the MMA’s implied concepts of
prudent physicians and large volume purchasers.

Due to these limitations, this study was not conclusive on the key questions of whether physicians’
net acquisition costs were comparable to large volume purchasers’ net acquisition costs and the effect
on ASP of eliminating large volume purchasers from the calculation.

Research Questions and Findings

The study was organized according to seven research questions. These questions and the associated
findings follow:

1. What shares of the top drugs covered by Part B of Medicare are purchased by various types of
purchasers?

Interview and secondary data concurred that the major purchasers of the top drugs covered by Part B
of Medicare were physicians and hospitals, not GPOs, HMOs, or PBMs. The secondary data analysis
did offer volumes by class of trade for the categories of purchasers defined in the IMS data. For most
of the 25 study HCPCs, the class of trade with the largest share of the market was clinics (including
physicians’ offices); hospitals were usually the class of trade with the second largest market share.

2. Do different types of purchasers face the same net acquisition costs for Part B prescription
drugs?

The study was unable to obtain data on net acquisition costs by type of purchaser. However, the
interviews suggested that different types of purchasers face different net acquisition costs and the
primary and secondary invoice data suggested that different purchasers face different invoice prices
for the prescription drugs offered by Part B of Medicare examined in this study. Both comments

made in interviews and a review of the secondary data indicated that for the sample of drugs
examined in this study the main source of variation in net acquisition costs/average invoice prices was
different purchasers payin g different prices for the same drug (NDC-11) within a molecule, not
different purchasers choosing different drug products within that molecule. The interviews also
yielded a list of purchaser-level drivers of net acquisition costs, including class of trade, ability to
influence market share, volume, and purchaser expertise.

3. Which purchasers face lower and higher net acquisition costs?

While the study found that differences in net acquisition costs/invoice prices existed, we did not find
conclusive and consistent evidence concerning whether physicians were disadvantaged relative to
large volume purchasers. The primary data collection (both interviews and invoice data) offered
some anecdotal information suggesting that physicians paid higher net prices than hospitals for some

 

Abt Associates Inc. Executive Summary ES-2
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 26 of 100

drugs. In contrast, the secondary data showed that as a general rule, clinics (the class of trade that
included physicians) faced the lowest average invoice prices per dose of all the major classes of trade
for most of the study HCPCs.

4. If differences in net acquisition costs exist, do they vary by drug?

Both the interviews and the secondary data analysis clearly indicated that differences in net
acquisition costs/average invoice prices varied by drug. The interviews highlighted that the presence
of therapeutic or generic competition were critical factors.

5. Would differences in net acquisition costs for different types of purchasers be reflected in ASP
if it were calculated by class of trade?

As a conceptual matter, ASP differs from net acquisition cost because it does not account for
wholesaler and distributor mark-ups, which are part of net acquisition costs, and because it is reduced
by non-purchaser rebates, which are not part of purchasers’ net acquisition costs. Interview
respondents suggested that wholesalers’ and distributors’ margins were small, the implication being
that ASP, if calculated by class of trade, would be likely to reflect the differences in net acquisition
costs by class of trade.'

6. Are there differences in ASP when it is calculated for different types of purchasers?

The study was not conclusive on this point. No manufacturer submitted complete data on ASP by
class of trade for a focus drug, and no other market participant was in a position to comment directly
on this subject.

7. Does excluding hospitals, HMOs, or other large volume purchasers affect ASP calculations?
Due to the lack of information on ASP by class of trade, the study was not conclusive on this point.
Discussion

The sensitive and confidential nature of prescription drug pricing makes this an extremely challenging
topic to research. This study used the best data available at this point in time but was ultimately
inconclusive due to data limitations. At this point in time, market participants are not willing to
provide price data at a sufficient level of detail to permit a thorough analysis of net acquisition costs
and average selling prices by class of trade.

To be successful, future work on net acquisition costs and ASP for the drugs covered by Part B of
Medicare must be based on adequate data that overcome some or all of the limitations described
above. Any continuing work on this topic must also recognize that the market for prescription drugs,
in general, is very dynamic and has just begun to adjust to the new coverage and pricing environment
created by the MMA.

 

| Respondents at one manufacturer emphasized that, for their product, non-purchaser rebates were large and

drove a wedge between net acquisition costs and ASP.

 

Abt Associates Inc. Executive Summary ES-3
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 27 of 100

1.0 Introduction

1.1. Motivation for Study

Section 303(c)(2) of the Medicare Prescription Drug, Improvement, and Modernization Act (MMA)
of December 2003 reformed CMS’ payment approach for the prescription drugs covered by Part B of
Medicare. As of January 1, 2005, payment for these drugs is a function of “average sales price”
(ASP), a manufacturer-reported measure that is based on actual manufacturer revenues. The specific
payment amount 8 106 percent of ASP. Prior to 2005, CMS’ payment approach for these drugs was
based on “average wholesale price,” which is a list price as opposed to a transaction price. This
change was intended both to yield a payment approach that was a more accurate reflection of
providers’ net acquisition costs and to lead to an appropriate reduction in Medicare expenditures.

As its name would suggest, ASP is an average sales price and may not represent individual
purchasers’ net acquisition costs to the extent that there is variation in such costs. Some have voiced
concern that large volume purchasers might face lower costs than physicians for Part B covered drugs
and that, if this were the case, then ASP -based payment might not provide adequate reimbursement to
physicians.

To address this concern, the MMA required the Secretary of Health and Human Services (HHS) to
submit a report on the sales of drugs and biologicals to large volume purchasers (LVPs)” The
purpose of the required report was to determine whether prices paid by LVPs were similar to the
prices available to prudent physicians and to assess the impact of excluding LVPs from the
computation of a manufacturer’s average sales price (ASP) for drugs and biologicals covered under
Medicare Part B. The current study provides background to the Secretary of HHS as a basis for
preparing the report to Congress. The remainder of this chapter presents the study questions; chapter
2 details methods; chapters 3, 4, and 5 describe findings, and chapter 6 concludes.

1.2 Study Questions

The language in the MMA required that the project’s study questions address two related pricing
concepts: “prices paid” or “net acquisition costs” and “average sales price” or “ASP.”

For the purposes of this analysis, we considered net acquisition costs to have three components. The
first is the invoice price, which is the price shown on the invoice between the purchaser and the
supplier. Second are any special pricing terms between the purchaser and supplier that further reduce
the purchaser’s acquisition costs but are not shown on the invoice; these might be prompt pay
discounts, volume discounts, or economic consideration. The final component is the purchaser
rebate, which is a payment from the manufacturer to the purchaser. Typically rebates are not paid at
the time of sale but are paid on a periodic basis as a reward for meeting goals related to volume or
market share.

While net acquisition costs and ASP are very similar, they are not identical. Roughly speaking, ASP
is equal to the manufacturer’s revenue divided by units sold. Thus, ASP differs from net acquisition
cost in that it excludes any mark-ups or costs added by wholesalers or other market intermediaries.

 

2 A list of all acronyms is provided in Appendix A.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 1
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 28 of 100

Also, ASP includes rebates to non-purchasers such as pharmacy benefits managers (PBMs) or health
maintenance organizations (HMOs).

In addition to addressing the pricing concepts of net acquisition costs and ASP, the project’s study
questions had to operationalize the concept of “large volume purchasers.” Language in the MMA
defined this concept in terms of classes of trade rather than in terms of volume per se; the project
followed suit. The MMA specifically mentioned HMOs, and PBMs; these groups were included in
our study. In addition, our study included hospitals, because they are major purchasers of Part B
drugs and large relative to many physician practices; we also included wholesalers and group
purchasing organizations (GPOs), because they are important participants in the markets for the drugs
covered by Part B. While the emphasis in the study was on classes of trade, we also sought to explore
the contribution of volume to net acquisition costs and average sales price.

In response to the mandate in the MMA and taking these considerations into account, the current
study defined seven research questions:

1. What shares of the top drugs covered by Part B of Medicare are purchased by various types of
purchasers? The impact of excluding various types of purchasers from the ASP calculation is
the product of the excluded group’s share of doses and the difference in ASP between the
excluded groups and the remaining purchasers, thus it is important to understand different classes
of trade’s share of doses in addition to their ASPs.

2. Do different types of purchasers face the same net acquisition costs for Part B prescription
drugs? Net acquisition cost is the first of the pricing concepts mentioned above.

3. Which purchasers face lower and higher net acquisition costs? The MMA called for a focus on
the comparison between physicians and large volume purchasers.

4. If differences in net acquisition costs exist, do they vary by drug? The answer to this question
has the potential to shed light on the drug-level drivers of variation in acquisition cost as well as
to guide future research to account for these differences.

5. Would differences in net acquisition costs for different types of purchasers be reflected in ASP
if it were calculated by class of trade? As noted above, ASP excludes mark-ups and includes
non-purchaser rebates. The report seeks to understand the magnitude of these components and
thus whether addressing discrepancies at the level of ASP would also serve to address
discrepancies at the level of net acquisition costs.

6. Are there differences in ASP when it is calculated for different types of purchasers? ASP is the
second essential pricing concept defined in the MMA.

7. Does excluding hospitals, HMOs, or other large volume purchasers affect ASP calculations?
As a practical matter, including or excluding LVPs when calculating ASPs is much more
important if this choice significantly affects the ASP for one or more key drugs.

 

Although there are some exceptions to this rule, PBMs and HMQs typically do not acquire prescription
drugs. However, both PBMs and HMOs influence drug utilization via preferred drugs lists, formularies,
and other utilization management tools. As a result, manufacturers are willing to pay rebates to PBMs and
HMOs in order to create incentives for PBMs and HMOs to encourage the use of their products.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 2
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 29 of 100

a

2.0 Methods

2.1 Overview of the Research Design

The project team analyzed these questions using both primary and secondary drug pricing data. The
project team conducted interviews with four categories of respondents: (1) experts, (2) manufacturers
of the drugs covered by Part B of Medicare, (3) market intermediaries (wholesalers and GPOs), and
(4) purchasers of the drugs covered by Part B of Medicare (physicians, hospitals, HMOs and PBMs).
We also requested written data on drug pricing from all groups except the experts. The primary data
provided market participants’ experience and perspectives on the research questions. The primary
data collection effort was also designed to yield qualitative and quantitative information about special
pricing terms (such as delayed payment terms and other discounts not listed on the invoice) and
manufacturer rebates, neither of which were incorporated into the secondary data, and to focus
specifically on Medicare Part B drugs.

The source of secondary data on the acquisition costs of prescription drugs by class of trade was the
National Sales Perspectives data (NSP), available from IMS health. The project data is summarized
in Exhibit 2.1 below.

 

Exhibit 2.1: Overview of Project Data

 

Primary Data: Interviews.and Written Data

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Interviews
Respondent Category N Target_| N Complete Written Data Requested
_Experts 8 6 None
Manufacturers 9 3 Average selling prices by class of trade
Market intermediaries 14 4
Wholesalers 7 1 Discounts and rebates by class of trade
Group Purchasing Organizations 7 3 Discounts and rebates by class of trade
Purchasers 58 23
independent Physician Offices 36 7 Invoices for focus drugs
Hospitals 7 12 Invoices for focus drugs _
HMOs 8 2 Invoices for focus drugs
PBMs 7 2 Invoices for focus drugs
TOTAL: 89 36
’ Secondary Data
Data Source Notes
Average Invoice Prices IMS All drugs.
11 retail and provider categories
List Prices (AWP and WAC) MediSpan All drugs
HCPC-NDC Crosswalk CMS Most Part B drugs

 

 

 

 

The primary data collection focused on six HCPCs: J0880 (darbepoetin alfa injection), Q0136 (epoetin alpha injection
for non-ESRD use), J9202 (goserelin acetate implant), J9355 (trastuzumab injection), J9217 (leuprolide acetate
suspension), and J9265 (paclitaxel injection).

2.2 Strengths and Limitations of the Research Data

In order to undertake any study, one must have access to adequate data. The ideal data set for a study
of net acquisition costs would be based on a very large sample of acquisition cost data from a
representative sample of purchasers. It would identify each purchaser’s class of trade and each

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 3
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 30 of 100

purchaser’s volume, both for the individual sale and on an annual basis; classes of trade would be
defined in a manner consistent with the project’s objectives. This ideal data set would include all
three components of net acquisition cost: the invoice price, any special pricing terms, and any rebate
amount paid to the purchaser. Such data would presumably be collected from physicians and large
volume purchasers or from their various suppliers.

Similarly, the ideal data for a study of ASP would contain ASP by class of trade, again with classes of
trade defined in a manner that was consistent with project objectives. Such data could only come
from manufacturers.

For the components of this study that dealt with net acquisition costs, we relied on a small sample of
interviews, a small sample of invoices collected directly from purchasers, and the secondary data on
average invoice prices from IMS Health. The strengths of the interviews were that it offered some
anecdotal information regarding special pricing terms and rebates and that it offered some context for
other findings. The main limitation was that the sample size was small (36 interviews) and not
necessarily representative of the population of purchasers as a whole. One cannot generalize from the
interview findings; one must view them as anecdotal information. Due to time constraints, the study
began with a relatively small number of target interviews. In addition, response rates for some groups
were lower than expected, and we did not reach the point of saturation in the interviews, that is, we
did not reach the point where we believed we had captured the full potential value of this mode of
data collection.

We were also concerned that some interviews were incomplete or difficult to interpret. The interview
discussed very sensitive material (prescription drug pricing), and, in many cases, respondents
declined to answer questions or answered them vaguely. The interviews were also extremely
complex; in a few cases, upon reviewing their notes, interviewers were concerned that they and the
respondents had not fully understood each other.’ This was a particular concern since there were so
few interviews. Finally, the fact that response rates were very low raises concerns about bias: the
respondents that we did talk to may not constitute a representative sample of the underlying
population.

The strengths of the primary invoice data were that it offered invoice-level data on acquisition costs
and that it offered a point of comparison and confirmation for findings based on the secondary data.
It also contributed a sense of the dispersion of invoice prices within a given category of purchaser.

The invoices were collected from interview respondents following the interviews. As a result, the
number of invoices was small, too small to support detailed statistical analysis, and not necessarily
representative. The analysis of primary price data is based on 23 invoices from six independent
physician offices and 38 invoices from 12 hospitals. In addition, this data represented invoice prices
only; it did not yield insight into special pring terms or purchaser rebates.

The main data source available for analysis was the data on average invoice prices from IMS Health.
The strengths of this data were that it was based on a large representative sample of all purchasers and
available for the full range of Part B drugs. While very useful, this data had several important
limitations, the first being that the average invoice price (AIP) differs from average net acquisition
cost because AIP does not capture special pricing terms or manufacturer rebates.

Another important limitation was the fact that the AIPs were based on broad classes of trade, many of
which contained different sub-categories believed to receive differential pricing. For example, the

 

4 In order to respect the respondent’s privacy, Abt did not tape interviews so questionable passages could not

be double-checked.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 4
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 31 of 100

hospital category contained both teaching and community hospitals. In the experience of the project
team and in the opinion of some interview respondents, these two types of hospitals paid different
prices for their Part B drugs. Also, the clinic category contained physician offices, clinics, and some
hospital outpatient departments, including some outpatient departments that were eligible for
federally-negotiated 340B pricing. Again, the different groups within this category may well pay
different prices for their Part B drugs. This is also significant since the sales of drug products to 340B
program participants are exempt from the ASP calculation. As a result, the average for the broad
class of trade was not equal to the average for each of the sub-categories within it.

A final limitation was that, regardless of whether average invoice prices were available for finer
classes of trade, the IMS data reflected average prices and did not provide a measure of price
dispersion within a given class of trade. Individual buyers might face prices above or below those
averages, and the IMS data that the project received did not contain measures of dispersion that could
be used to establish the empirical importance of this phenomenon.

For the component of the study that dealt with ASP, the only potentia 1 source of data was the primary
data collection from manufacturers. Three manufacturers participated in interviews, but no
manufacturer submitted complete data on ASP by class of trade for a focus drug. Again, while useful
for this component of the study, AIP also differed from ASP because AIP included wholesaler and
distributor mark-ups and because it did not capture purchaser or non-purchaser rebates.

There are two other issues that affect the interpretation of the results of this study. The first issue is
the time period of the data. The interview and invoice data were collected in the spring of 2005,
shortly after the implementation of ASP-based pricing. The IMS data contained invoices from the
third quarter of 2004, prior to the ASP implementation. This study provided an analysis of the market
for the drug covered by Medicare at a point in time, but this market may well change in response to
the new coverage and pricing environment created by the MMA.

The second issue is that classes of trade are not well-defined. The definitions of the various types of
classes are not clear and consistent among market participants; several experts explicitly noted that
this was a problem. In addition, market participants’ working definitions of the classes of trade are
not necessarily consistent with the MMA’s implied concepts of prudent physicians and large volume
purchasers.

2.3. Selection of Six HCPCs for Primary Data Collection and
Focused Review

The primary data collection and some analyses of secondary data were focused on six HCPCs,
presented in Exhibit 2.2. These HCPCs covered drugs typically prescribed by a range of physician
specialties and for several different indications (three physician specialties and three indications).
The design also featured two HCPCs for each physician type and indication, so that the project team
could collect more primary physician data per HCPC than would otherwise be the case. All selected
HCPCs were significant in terms of Medicare expenditures.

Four of these six focus HCPCs were used to choose the four physician samples and were the primary
drug on which a purchaser interview focused. These four HCPCs are referred to as anchor HCPCs in
Exhibit 2.2. A purchaser interview focused on the drugs in one of the four anchor HCPCs; however,
primary data were requested for each of the six focus HCPCs.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 5
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 32 of 100

 

Exhibit 2.2: Six HCPCs for Primary Data Collection and Focused Review

 

HCPC Description and Code
Percent of 2003 Part B Drug

Physician Type & Indication

Product Names

 

 

Expenditures (Manufacturer)
darbepoetin alfa ** (J0880) Oncologist/hematologist Aranesp® (Amgen)
5.1 percent : ; :
Anemia associated with
chemotherapy
erythropoietin alpha (Q0136) Oncologist/hematologist Procrit® (Ortho)

8.9 percent

Anemia associated with
chemotherapy

 

goserelin ** (J9202)
4.3 percent

Urologist
Prostatic cancer

Zoladex® (AstraZeneca)

 

leuprolide acetate (J9217)
6.9 percent

Urologist
Prostatic cancer

Lupron® (TAP)

Eligard® (Sanofi)
Viadur® (Bayer)

generics (Eon Labs, IVAX,
Sicor)

 

paclitaxel ** (J9265)
2.5 percent

Oncologist
Breast cancer

Taxol® (BristolMyers Squibb),
Onxol® (IVAX) [branded
generic],

generics (AmeriNet Choice,
UDL, Mayne, Bedford)

 

trastuzumab ** (J9355)
0.9 percent

 

Oncologist
Breast cancer

 

Herceptin® (Genentech)

 

** These four HCPCs anchored the physician sample frame, i.e., they were used in the physician screening

process.

2.4 Interviews and Primary Data Collection

Individual in-depth interviews were conducted by telephone with various groups of respondents,
namely: experts, manufacturers, group purchasing organizations (GPOs), wholesalers, physicians,
hospitals, HMOs’, and PBMs. All 36 interviews took place between April 1, 2005 and May 13, 2005.
Exhibit 2.3 displays the project team’s target numbers of interviews and response rates, by respondent

group.

 

5

HMOs, health maintenance organizations, were found in the 2003 Healthcare Distribution Management

Association (HDMA) Industry Profile and Healthcare Factbook, and were the top managed care firms by

HMO enrollment.

 

Abt Associates Inc.

Sales of Drugs and Biologicals to Large Volume Purchasers 6
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 33 of 100

 

Exhibit 2.3: Target Numbers of Interviews and Response Rates

 

 

 

 

 

 

 

 

 

 

 

Response Rate
Letters | Interviews Passive % of % of
Target} Sent Completed | Refused | Ineligible | Refusal | Target | Letters
Experts 8 14 6 2 6 75% 43%
Manufacturers 9 11 3 5 3 33% 27%
GPOs 7 8 3 3 1 1 43% 38%
Wholesalers 7 20 1 3 3 13 14% 5%
Physicians 36 72 7 25 1 39 19% 10%
Hospitals 7 20 12 2 6 171% 60%
HMOs 8 18 2 2 6 8 25% 11%
PBMs 7 14 2 9 3 29% 14%
TOTAL 89 177 36 42 20 79 40% 20%

 

 

 

 

 

 

 

 

 

Interview procedures were designed to create an objective and accurate documentation of respondent
perspectives. For each of the groups, the project team identified an objective and representative
source of potential respondents and created an initial sample (Appendix B offers more details about
the development of the interview samples and other methodological issues.). Unfortunately, for some
groups, we had trouble reaching the target number of interviews because representatives from these
organizations were unwilling to participate.

Interviews were conducted using a discussion guide. The interview guides varied for the different
respondent groups, with some similar questions for all groups. The discussion guides were comprised
of open-ended questions, which asked about drug acquisition processes and pricing patterns for
Medicare Part B drugs, as well as specific questions pertaining to the drugs in the six focus HCPCs in
our study.

At the end of the interview, all respondents except experts were asked to voluntarily submit drug
pricing data. Manufacturers, wholesalers, and GPOs were asked to fill out a data collection form. In
the data collection form, manufacturers were asked to provide information regarding ASP at the
NDC-11 level by class of trade. Wholesalers and GPOs were asked to provide net invoice prices
(relative to the so-called wholesale acquisition cost or WAC) and rebates amounts from manufacturer
to purchaser at the NDC-11 level by class of trade. After the interview, the project team would
customize the data collection form in light of the interview so that it reflected information gathered
about relevant NDC-11s and relevant classes of trade.

Physician purchasing agents, hospitals, HMOs and PBMs were asked to submit pricing data regarding
drug products in the six focus HCPCs in the form of a recent invoice. Exhibit 2.4 presents the data
received.

 

6 Our definition of passive refusal was when we left at least five voice messages for a potential respondent

and the person never returned our call to either agree or refuse to participate. Messages clearly stated that
the study was being done on behalf of CMS.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 7
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 34 of 100

Of eleven manufacturers contacted, three participated in interviews, but none submitted complete data
on ASP by class of trade for a focus drug. Price data submitted by wholesalers, GPOs, HMOs, and
PBMs was very limited and was incorporated into the analysis of interviews. Price data submitted by
physicians’ offices and hospitals were also limited but were analyzed separately to the extent
possible. Most of the invoices submitted were dated March or April 2005.

 

Exhibit 2.4: Primary Data on Invoice Prices: Data Received

 

 

 

 

 

 

 

 

 

 

 

N N Data Received |
Complete Submitting (Invoices or Data Collection
Respondent Category Interviews Data Forms Forms)
Manufacturers 3 1 No complete data collection forms for
focus drugs
Market Intermediaries:
Wholesalers 1 0
Group Purchasing Organizations 3 2 2 data collection forms which
included discount and rebate
information
Purchasers
Independent Physician Offices 7 6 23 invoices
Hospitals 12 12 38 invoices
HMOs 2 1 Some data via email
PBMs 2 1 8 invoices
' TOTAL 30 23

 

 

 

 

The primary data collection focused on six HCPCs: J0880 (darbepoetin alfa injection), Q0136 (epoetin alpha injection
for non-ESRD use), J9202 (goserelin acetate implant), J9355 (trastuzumab injection), J9217 (leuprolide acetate
suspension), and J9265 (paclitaxel injection).

All potential respondents were assured that their participation was voluntary and confidential.
2.5 Secondary Data on Drug Prices

In addition to interviews and primary invoice data, the project team conducted an analysis of
secondary data on average invoice prices for the drugs covered by Medicare Part B.

Data Sources

To create a database for analysis of Medicare Part B drug prices, price data and variables related to
the characteristics of specific drug products were acquired from three different secondary data
sources: (1) IMS Health, Inc., (2) the Centers for Medicare and Medicaid Services (CMS) and

(3) Medi-Span (a division of Wolters Kluwer Health, Inc.). Invoice drug price data was acquired
from IMS Health’s National Sales Perspective (NSP) database. From CMS, two files were used
including: the HCPCs Crosswalk File (January 2005), and the CMS NDC Weight File. Medi-Span’s
PriceChek PC database was used for current drug prices and their Master Drug Data Base (MDDB)
was used for archival prices and drug product characteristics.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 8
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 35 of 100

IMS Heatth’s National Sales Perspective Database

IMS Health’s NSP database reports the total sales dollars and number of units that were distributed to
purchasers for virtually all prescription drugs on a monthly basis. The data are collected by IMS from
electronic and scanned invoices that are generated by manufacturers or wholesalers when drugs are
sold to purchasers. As a result, estimates of average invoice price (AIP) based on this data include all
on-invoice discounts, such as including bottom line discounts.

Sales data were available from IMS at the 11-digit National Drug Code (NDC-11) level. The NDC-
11 level uniquely identifies the active molecule, dosage form, strength, package size, package type,
and manufacturer or marketer for each and every prescription drug product on the market. IMS
monthly sales and unit volume data for major Medicare Part B drug products by class of trade at the
NDC-11 level for the period January 2002 through January 2005 was analyzed for this project,
although this report only shows data from the third quarter of 2004 (Q3 2004).

Data related to purchasers are grouped into thirteen broad classes of trade by IMS including:
independent pharmacies, chain pharmacies, food stores, mail service pharmacies, HMOs, clinics,

home health care, long-term care facilities, non-federal hospitals, federal facilities and miscellaneous
(including prisons, universities, and others). Clinics are defined by IMS as an individual physician or
a group of physicians located at the same address, which includes oncology clinics, outpatient dialysis
facilities, OB-Gyn clinics, orthopedic clinics, outpatient emergency treatment centers, multispecialty
clinics, and other types of outpatient clinics,’ including those that are eligible for federally-negotiated
prices on drugs under the 340B program. The breadth of this clinic category is unfortunate for our
study because we would like to be able to distinguish among these sub-categories of purchasers.

Data Sources from CMS

The CMS HCPCS-NDC Crosswalk file (January 2005) is publicly available file that was obtained
from the CMS website® This MS Excel file contains almost all drug HCPCs and identifies the NDCs
at the 11-digit level that are related to each specific HCPC. In addition to the HCPCS-NDC
crosswalk, the file also contains information for each 11-digit NDC on the labeler name, drug name,
package size, package quantity, billable units per package, and billable units per 11-digit NDC.

The CMS NDC Weight File was provided to the project team directly by CMS. This file contains
data at the NDC-11 level for each NDC included in the calculation of the ASP for a specific HCPC.
The NDC Weight Factor is a value calculated by dividing the billable units of a specific NDC-11 sold
during a certain period by the total number of billable units for all NDC-11s that are included within a

. specific HCPC that were sold during the same time period. The CMS NDC Weight file (Third
Quarter 2004) contains NDC Weight Factors for each NDC-11 based on actual sales during the third
quarter of 2004. ° This file also contains a HCPC description and the number of billable units per
package at the NDC-11 level.

Data Acquired from Medi-Span

Drug product characteristics and related background information, such as therapeutic category, patent
status, and manufacturer, was acquired from the Medi-Span MDDB File. Medi-Span is a division of
Wolters Kluwer Health, Inc.

 

7 ubcatego odes, IMS Health, October 2002. More details on IMS’ classes of trade are in

Appendix E,

8 The CMS HCPCS Crosswalk File file named ‘HCPCSCrosswalk0105.xls’ was found at the CMS website
address ‘http:/Awww.cms.hhs.gov/providers/drugs/asp.asp’.

CMS provided NDC weight factors, but not ASP prices at the NDC-11 level.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 9
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 36 of 100

Sample Selection

A CMS analysis of Year 2003 Medicare Allowable Charges identified the top 35 HCPCs codes in
terms of Medicare expenditures.’ These Top 35 HCPCs accounted for 85 percent of Medicare
expenditures for Part B drugs in CY 2003 (See Appendix D). A HCPC is a grouping code for drug
products (at the NDC-11 level) that have the same chemical entity and dosage form that can be used
to deliver a specific amount of medication. Each unique dosage form, strength, and package size of a
drug produced by each manufacturer is assigned a unique NDC-11 number. The project team chose
to focus on the 25 HCPCs that were most significant in terms of 2003 Medicare expenditures and that
met other project criteria, for example, vaccines, respiratory drugs, and miscellaneous categories were
removed at the request of CMS. Two of the HCPCs, adenosine injection (HCPC J0151) and
verteporfin injection (HCPC J3395), did not have any NDC-11s attributed to them in the third quarter
2004 weight file and were therefore removed from the analysis. Finally, Hylan G-F 20 injection
(HCPC J7320) did not have any IMS data available for the only weighted NDC-11 and was also
removed from analysis. The remaining 25 HCPCs were linked with 165 drug products at the NDC-
11 level. '' These HCPCs and their related drug products formed the analytic data set that was the
focus for the analysis in this study.

Creation of the Analytic File

Data from the IMS NSP database was selected at the drug molecule level, since the IMS database
does not link the drug products (NDC-11) into HCPCs groups. Sales volume (in dollars) and number
of package units sold for each of the classes of trade were extracted at the NDC-11 level for each
molecule that was described by one of the 25 study HCPCs.'? Data was selected for July, August and
September of 2004 which is the same time period as the ASP data submitted by manufacturers to
CMS for calculating the third quarter 2004 ASP that will be applied as a payment limit in the first
quarter of 2005. The IMS NSP data was extracted and exported from the IMS’ Dataview database
into MS Excel. Stata version 8.0 was used to perform calculations with this data set such as
calculation of price per billable unit for each NDC-11 and to conduct price analysis for various
groupings of NDC-11s or classes of trade.

The IMS NSP data was matched by NDC-11 number to the data found in the CMS HCPCS-NDC
Crosswalk and the CMS NDC Weight File to map each NDC-11 into one of the 25 study HCPCs.
The IMS NSP sales and package units data were used at the NDC-11 level to calculate a price per
package unit. Price per dose was then calculated for each NDC-11 by dividing the IMS price per
package unit by the Billable Units Per NDC-11 provided in the CMS NDC Weight File.

Construction of Analytic Variables and Analytic Methods

The final analytic file created in Stata contained an average invoice price per dose (AIP) for each
class of trade for each of the NDC-11s that comprise the 25 study HCPCs for each month across the
time period January 2002 to December 2004. For each NDC-11 and each class of trade, the project
team created a weight (the IMS class-specific weight) that reflected that NDC-11’s share of doses
within the HCPC (defined in terms of the set of NDC-11s that the CMS NDC weight file associated

 

10 This report on CMS Year 2003 Medicare Allowable Charges was provided by CMS.

‘According to the third quarter 2004 CMS NDC Weight File.

!2 Units are defined for each NDC-11 in the IMS NSP database as number of packages (equivalent to a stock

keeping unit, e.g., 4 vials of 10 ml each constitute one unit), extended units (equivalent to total package
quantity, e.g., 4 vials of 10 ml each constitute 40 ml of extended units) and eaches (equivalent to package
quantity, e.g., 4 vials of 10 ml each constitute 4 eaches). In our analysis, IMS units are used.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 10
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 37 of 100

with the HCPCs). The price per dose was then multiplied by the IMS class specific weight and then
summed across a whole HCPC to calculate an AIP for the class of trade. AIPs based on these class-
specific weights were calculated for each class of trade and for the total market (all classes of trade
combined excluding federal facilities). The project team also calculated and analyzed AJPs using the
CMS weights, but these analyses are not shown in the report to maintain ASP data confidentiality.’*

Invoice prices at the HCPC level may vary by class of trade for two or more reasons. First,
purchasers in different classes of trade may pay a different invoice price when purchasing the same
NDC-11 drug product from a manufacturer or wholesaler. This first source of variation in invoice
prices by class of trade can be isolated by analyzing an alternate AIP that is defined using
standardized weights. This method assumes that each class of trade purchases the same mix from the
basket of NDC-11s within a HCPC, so that any variation in the alternate AIP that is observed can be
attributed solely to variations in price of specific NDC-11s. For this purpose, we constructed an
alternate AIP, using weights based on combined volumes for all classes in the IMS data.

Second, purchasers in different classes of trade may acquire different drug products (with different
NDC-11s) to deliver the amount of a medication specified by a certain HCPC. To analyze this
second source of variation, one can compare the result obtained with the class-specific weights to the
result obtained with the all-class weights.

3.0 Results: Interviews

The project team interviewed 36 experts and market participants. Appendix C offers a brief
description of the interview respondents.

3.1. Distribution Process

Major Purchaser Types

Interview respondents agreed that the major purchasers of Part B drugs were physicians and hospitals,
not GPOs, HMOs or PBMs. The role of GPOs is to negotiate contracts on behalf of purchasers but
not to take possession of drugs.

Some HMOs, namely those with staff physicians or who own and operate pharmacies, buy through
wholesalers at contract prices. The majority of HMOs, however, are primarily a financial umbrella
and may never directly purchase or handle drug products. While eight HMOs initially agreed to be
interviewed for this project, only two purchased drugs and qualified for the study. This is direct
evidence that most HMOs do not acquire the drugs covered by Part B.

Similarly, the traditional function of the PBM is to negotiate prices between providers and insurers
and contract with networks of retail pharmacies, but not to take physical possession of drug products.
PBMs with mail order houses or specialty pharmacies may directly purchase and take possession of
drug products for distribution through these specialized delivery channels '*. There are also specialty
PBMs who focus only on high cost and limited use drug products (such as Medicare Part B covered
drugs). While eleven PBMs initially agreed to be interviewed for this project, only two purchased

 

'3 To make the IMS all-class-weighted AIP and the CMS -weighted AIP comparable to the Average Sales

Price, sales to federal facilities were excluded from the AIPs that were calculated for the total market with
all classes of trade combined.

Most of the largest PBMs do own their own mail service pharmacy.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 11
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 38 of 100

drugs and therefore qualified for this study. Again, this shows that most PBMs do not acquire Part B
drugs.

Channels of Distribution

There was consensus in the interviews that physicians often purchased drugs from specialty
distributors, specialty wholesalers, or specialty divisions within major wholesalers while hospitals
typically purchased via major wholesalers. The view that physicians and hospitals work with
different distribution channels was confirmed by respondents’ description of their own distribution
and acquisition practices. While the use of different distribution channels is not evidence of
differences in net acquisition costs, it may facilitate the persistence of such differences.

In response to questions about distribution channels, each manufacturer reported a different approach
to distributing the product under discussion. Two firms shipped to physicians via one or more
specialty distributors. The third manufacturer distributed its drug products to physicians through
major wholesalers using a charge-back system. In a charge-back system, a wholesaler acquires a drug
from a manufacturer at WAC (wholesale acquisition cost, a list price not necessarily reflecting actual
acquisition costs), or some other list price. The wholesaler then sells the drug at a different price,
often below WAC or the other list price, and then charges the difference back to the manufacturer.
All three manufacturers distributed to the hospital class of trade using major wholesalers and charge-
backs.

All physicians reported that their clinics purchased most of their drugs from specialty distributors or
specialty wholesalers, while every hospital purchased drugs through at least one of the big three
wholesalers (McKesson, AmeriSource-Bergen, or Cardinal).

In hospitals, some respondents indicated that they also negotiated directly with manufacturers for
price and discounts on certain drugs. This practice was more common among the academic medical
centers and large multi+hospital systems than it was for community hospitals. Some of these
academic centers suggested that they were able to obtain better direct discounts from manufacturers
for a variety of reasons including: size, prestige in a given specialty (e.g., oncology, cardiology,
orthopedics, etc.), and ability to influence young physicians’ choices with regard to particular drugs.

Both HMOs and both PBMs worked with a major wholesaler (not necessarily the same wholesaler).

3.2 Access to Special Pricing Terms and Rebates

Access to Special Pricing Terms

In conversations with purchasers, interviewers inquired about the purchasers’ access to special pricing
terms from wholesalers and access to rebates. Manufacturers were also invited to comment on
rebates. We found that there were two basic types of discounts from wholesalers or distributors —
prompt pay discounts and volume or prime vendor discounts.

Prompt Pay Discounts

Prompt pay discounts were discounts for the timely payment of an invoice that reduced actual
acquisition costs below the amount listed on the invoice. Purchasers’ comments offered anecdotal
evidence that physicians might derive less benefit from prompt pay discounts than hospitals.

Each of the physician respondents indicated that a prompt-pay discount was available if they paid for
drugs within a certain time frame. The level of the discount ranged from one to two and one-half
percent. One of the two clinics that reported having a two and one-half percent discount had their

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 12
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 39 of 100

drug payments directly deducted from their bank account. The other clinic had to pay their invoice
within one week in order to receive its discount.

Respondents from two of the clinics reported that their clinic almost always received its prompt-pay
discounts. It was unclear whether four of the respondents were able to receive the prompt-pay
discount every time they purchased drugs. One office was unable to take advantage of its one percent
prompt pay discount. Paying its invoices immediately would require that this respondent secure and
pay the finance charges on a one million dollar line of credit. Since commercial payers and Medicare
generally do not pay this clinic for 45-60 days '°, the clinic was unable to pay their drug invoices
immediately.

All hospital respondents reported prompt-pay discounts from their wholesalers, and a few even
received a discount for pre-paying drug costs.

One of the two HMOs received prompt-pay discounts; the other did not comment. Both PBMs
received these discounts.

Volume Discounts

Wholesaler volume discounts are usually based on two criteria — the total dollar volume of all drugs
purchased over time from the same wholesaler and/or the total share of an end purchaser’s volume
that is purchased from the wholesaler serving as their ‘prime vendor.’ Like manufacturer rebates,
they are paid after-the-fact and do not appear on invoices.

Again, the interviews offered anecdotal evidence that hospitals enjoyed better access to such
discounts than physicians. Only two respondents in physicians’ offices indicated that they received
volume discounts on the drugs they purchased. Every hospital reported that purchase volume
influenced their discounts, both from wholesalers and from manufacturers from whom drugs were
directly purchased. Manufacturer-based volume discounts are usually limited to purchases of a
specific drug, or sometimes a bundle of specific drugs, from the manufacturer within a certain time
period.

Both PBMs negotiated for wholesaler discounts based on volume.
Access to Rebates

When asked to discuss rebates, one manufacturer described them as “performance rewards to end
customers,” recognizing sales, growth in sales, market share, and growth in market share. Rebates
are typically administered after-the-fact based on performance over some period of time; they are
typically paid directly by the manufacturer to the provider. “Market share rebates” reward the use of
one drug in a competitive therapeutic class at a particular level; for example, given a choice of two
drugs for a condition, a provider might receive a rebate if one of the drugs was used in 80 or 85
percent of cases. “Market basket rebates” recognize a provider’s use of a set of several drugs from
the same manufacturer and are paid if the total use of these drugs surpasses a certain market share.
No manufacturer was willing to discuss the magnitude of rebates.

The interviews suggested that physicians might have been disadvantaged relative to hospitals in terms
of access to manufacturer rebates. Manufacturer rebates were not common at any of the physician
clinics interviewed. The respondents who did report such rebates indicated that they were only
available for a small number of drugs (generally less than five). Two respondents reported that the

 

15 It is likely that this respondent relied on a paper process to bill Medicare. Medicare pays electronic claims
within 30 days of receipt.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 13
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 40 of 100

manufacturer rebates their clinics received were tied to either volume or market share. One
respondent suggested that rebates were only available on brand name drugs, never on generic drugs.
Respondents at one manufacturer emphasized that, for their product, non-purchaser rebates were
important.

Each hospital received some direct manufacturer rebates, typically amounting to about one to two
percent of their annual purchase volume. At the larger institutions, where total purchases may exceed
$100 million, this represented a significant amount. Many hospitals claimed that they were trying to
migrate away from rebates, since they are always post hoc, and hence are difficult to incorporate
rationally into their financial management and purchase planning. Some multthospital systems also
mentioned that rebates were difficult to allocate among members.

Both HMOs surveyed received manufacturer rebates on certain drugs based upon formulary
placement, volume, market-share, and market-basket performance, but neither received rebates for
any of the four anchor Medicare Part B drugs discussed in detail.

The two PBMs that were interviewed had formularies and they each received rebates both for
placement of drugs on the formulary and for driving market share movement (increasing the percent
of prescriptions in a certain therapeutic class for a specific drug product). Both PBMs also received
direct volume discounts from manufacturers, independent of their wholesaler arrangements. One
PBM also indicated that it received fees from some manufacturers for administering the rebates that
these manufacturers paid directly to the PBM’s customers.

3.3 Variation in Net Acquisition Costs

Existence of Variation

When asked whether prices varied across different classes of purchasers, one respondent replied
“Absolutely.” There was widespread agreement among all groups of interview respondents, other
than manufacturers, that net acquisition costs varied for different types of purchasers.

Manufacturers were circumspect on this point. Respondents at one manufacturer could not comment
on this question; they noted that, because they worked with a distributor, they did not know what
prices physicians ultimately paid to acquire their product; that was at the distributor’s discretion.
Respondents at the second stated that the pricing distributions for different classes of trade overlapped
(contracts were based on size and performance attributes as opposed to class of trade), but that
generally smaller customers and the retail class of trade paid more. The third said, without
reservation, that physicians and hospitals were eligible for the very same discounts.

Interviewers inquired whether differences in net acquisition costs were due to different purchasers
paying different prices for the same drug or whether they were due to different purchasers choosing
different drugs (NDC-11s) within a given molecule. Referring the specific drug under discussion,
these three manufacturers stated that, to the extent difference in net acquisition costs existed, they
stemmed from purchasers buying the same drug product (at the NDC-11 level) at different prices;
there were not important differences in which classes of trade acquired different products within a
molecule. A few physicians noted that small purchasers might also buy different NDC-11s (e.g.,
smaller package sizes with fewer doses) within a given molecule, because they needed fewer doses
over time.

Interviewers also asked about the role of wholesaler or distributor mark-ups in determining net
acquisition costs and variation in net acquisition cost. Interview respondents agreed that pricing
decisions made at the manufacturer level were the drivers of variation in acquisition costs and that

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 14
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 41 of 100

wholesalers’ and distributors’ mark-ups were much less important. No respondent emphasized that
wholesaler or distributor mark-ups were large; in fact, some emphasized that they were small. No
respondent emphasized that these mark-ups varied by class of trade, although, as just noted, there was
some evidence of variation in purchasers’ access to special pricing terms from their wholesaler or
distributor. While wholesalers and GPOs facilitate drug distribution and price negotiation, all four of
these respondents (three GPOs and one wholesaler) were adamant that it is manufacturers who
effectively set prices for all brand name drugs.

The implication of this perception is that differences in net acquisition costs would likely be reflected
in ASP if it were calculated by class of trade. As noted earlier, one manufacturer emphasized that, for
their product, non-purchaser rebates were important.

Drivers of Variation

Respondents cited several interacting drivers of the variation in acquisition costs. Some of these
drivers pertained to purchaser characteristics and others to drug product characteristics.

Purchaser Characteristics

Class of trade, such as physician, hospital, or retail pharmacy: Several experts and all
intermediaries cited class of trade itself as a driver of differences in pricing.'* As noted above, both
respondents at PBMs (who had both formerly been in specialty pharmacies) noted that their net
acquisition costs had risen with the change in class of trade. ,

Ability to influence market share directly: Five of the six experts and all of the intermediaries
volunteered that the ability to influence market share was a key driver of differences in acquisition
costs. Some purchasers, such as PBMs or HMOs with salaried physicians, are able to affect
utilization because they establish a formulary or a preferred drug list that influences prescribers’
choices. Perceived status may also create influence; a prominent teaching hospital sets lifelong
prescribing patterns for young physicians and influences physicians in the surrounding community.
Purchasers with the ability to influence market share are typically compensated after the fact via
rebates. Experts indicated that some classes of trade, notably retail pharmacies, typically are
ineligible for (or are not offered) market share rebates from brand manufacturers.

Volume: Five of the six experts and three of the four intermediaries stated clearly that volume was a
driver of discounts and rebates especially within, as well as sometimes between, classes of trade.

Purchaser expertise: Two respondents pointed out that the market for prescription drugs is very
complicated and that more sophisticated purchasers were in a better position to navigate that market
and secure the lowest prices.

Drug Characteristics

Therapeutic competition: According to several respondents, unique (patent protected) products are
sold at list price (WAC) with little variation. Once a manufacturer is forced to compete for market
share against a therapeutic alternative, then the manufacturer may begin to provide discounts and
rebates and to do so selectively.

 

16 The implications of class of trade pricing are described in more detail in a CMS report, Schondelmeyer SW

and MV Wrobel, Medicaid and Medicare Drug Pricing: Strategy to Determine Market Prices, Final Report,
Contract #XXX-XX-XXXX, Task Order 1, August 30, 2004. See pages 16 to 19 and other sections.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 15
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 42 of 100

Generic competition: Similarly, generic competition drives down the price of prescription drugs.
Two respondents stated that because the market for generic drugs is so competitive, all purchasers
have access to excellent pricing. While generic competition eliminates monopoly-pricing power, it
does not necessarily equalize prices among purchasers in different classes of trade. The ability to
influence which manufacturer’s drug product is used, when multiple generic drug products are
available, often leads to a lower price.

Whether the drug is an oncology drug: Two respondents suggested that markets for oncology drugs
are different than the markets for other pharmaceutical products. First, as one respondent noted,
oncologists received greater discounts than other physicians. Also, as another respondent noted,
unlike most physicians, it is to oncologists’ advantage to work with specialty distributors rather than
major wholesalers. Large networks of oncologists existed to serve as an “oncology GPO” or a
specialty distributor.

Other Characteristics

Competition among suppliers: Two experts noted that specialty wholesalers and distributors would
try to match market prices for particular drugs.

Ranking of Purchaser Types

When asked to rank which classes of trade faced higher net acquisition costs, interviews with four
experts suggested that physicians pay more than hospitals while interviews with 2 GPQOs and 1 expert
suggested a mixed picture across drugs.

Experts were asked to discuss general patterns among all of the drugs covered by Part B of Medicare.
In this context, four of the experts clearly stated that physicians faced higher net acquisition costs than
hospitals; one stated that results were mixed.

Respondents at GPOs were asked to discuss each of the six focus drugs and provide associated price
data. Respondents from two of the three GPOs were willing to discuss discounts and rebates in the
interview and to submit data collection forms. Both of these respondents agreed that (1) for two of
the six focus drugs physicians and hospitals faced similar net acquisition costs; (2) for two of the six
focus drugs, physicians faced higher net acquisition costs than hospitals. In the latter case, both
differential invoice prices and differential rebates contributed to the total net difference. There was
not a clear consensus regarding the remaining two focus drugs.

The belief among some interview respondents that physicians paid more than hospitals is noteworthy
because it differs from the findings on invoice prices in the secondary data analysis. This underscores
the need for data on off-invoice price concessions to determine how net acquisition costs compare
across provider types.

4.0 Results: Secondary Data Analysis

This chapter discusses results of an analysis of secondary drug price data for the 25 study HCPCs. As
emphasized in the methods chapter, it is important to remember the limitations of this data. First, the
average invoice price (AIP) was different from the average net acquisition cost because it did not
capture special pricing terms or manufacturer rebates. Second, the volumes and average invoice
prices presented below were calculated for broad classes of trade, many of which contained different
sub-categories believed to receive differential pricing. For example, the “clinic” category contained

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 16
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 43 of 100

physician offices, clinics, and some hospital outpatient departments, including some hospital
outpatient departments that were eligible for federally-negotiated 340B pricing.

4.1 Major Purchasers

The 25 study HCPCs and related drug products accounted for nearly two-thirds (63 percent) of the
Medicare Part B drug expenditures in 2003. The share of doses (Exhibit 4.1) and the share of dollars
(Exhibit 4.2) for drug products in each of the 25 study HCPCs was examined for each of the classes
of trade.

Clinics or hospitals were the primary purchasers of doses in 22 of the 25 study HCPCs during the
third quarter of 2004 (Exhibit 4.1). In addition, sales were typically split between the clinic and the
hospital classes of trade. For 20 of the 25 drugs, both the clinic and the hospitals classes of trade each
had at least ten percent of total sales.

The retail classes of trade were the primary purchasers of drug products in two of the three remaining
HCPCs. Federal facilities were the primary purchaser of drug products in the third remaining HCPC
code. Mail service pharmacies, HMOs, home health care and long term care facilities were never
primary purchasers for any of these 25 drugs. The following discussion classifies the 25 HCPCs into
four groups based on the primary purchaser of doses for the drug products in the HCPC.

Clinics as Primary Purchasers

Clinics were the primary purchasers for 17 of the 25 study HCPCs, purchasing over one-half of the
doses for these drugs. For all but two of these 17 HCPCs, hospitals accounted for the second largest
share of drug purchases with shares ranging from nine percent to 41 percent of all doses. Combined,
clinics and hospitals purchased between 62 and 97 percent of the doses for drug products in these 17
HCPCs. The retail classes of trade accounted for a fairly small proportion of doses in the 17 HCPCs
with drug purchases predominantly through clinics. Thirteen of these 17 HCPCs had less than two
percent of all doses sold through the retail classes of trade.

All 17 of the HCPCs provided to patients primarily through outpatient clinics or physicians’ offices
were injectible drug products. Fifteen of the 17 HCPCs, and related drug products, primarily
administered in clinics or physicians’ offices were for treatment of various forms of cancer or
symptoms related to chemotherapy. Eleven of these HCPCs were chemotherapy, while four were for
treating symptoms of chemotherapy such as anemia or nausea and vomiting. The other two HCPCs
administered most often by physicians in their office or a clinic were for arthritis or other
inflammatory problems [(J1745) infliximab and (J7317) sodium hyaluronate injection].

Hospitals as Primary Purchasers

Hospitals purchased the largest share of doses in five of the 25 study HCPCs and for two of these
HCPCs hospitals accounted for over one-half of the doses. Clinics were also major purchasers of
drug products in these five HCPCs, purchasing between 11 and 45 percent of all doses. These two
classes of trade (i.e., hospitals and clinics) purchased between 62 and 90 percent of all doses of these
five HCPCs. For one HCPC, hospitals and clinics sold a nearly equal proportion of doses with 46
percent to hospitals and 45 percent to clinics.

Four of the five HCPCs that were sold predominately through hospitals were blood products
including drugs for support of transplant, or other immuno-suppressed, patients and factor VIII for
treatment of hemophiliac patients. The fifth HCPC sold mostly through hospitals was botulinum
toxin A used for muscle paralysis, spasm control, and for other purposes.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 47
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 44 of 100

The retail classes of trade did not purchase a substantial volume of doses for drug products in three of
these HCPCs (less than two percent), but did purchase seven and 16 percent for the other two HCPCs.
Home health care providers did purchase a sizeable proportion for two of these HCPCs (16 and 21
percent). These two HCPCs were also the only HCPCs where home health care providers purchased
more than four percent of the total drug doses.

Retail Classes of Trade as Primary Purchasers

The retail classes of trade generally purchased a low proportion of the doses for most of the study
HCPCs (less than two percent for 16 of the HCPCs and less than 17 percent for 23 of the HCPCs).
However, retail pharmacies did purchase the majority of doses for drug products in two of the
HCPCs: mycophenolate mofetil, oral (J7517), and tacrolimus, oral (J7507). Notably, these are the
only two HCPCs among the 25 study HCPCs that are for non-injectible dosage forms of drugs (i.e.,
they are both oral medications). Mail service pharmacies also purchased a substantial share of the
doses for mycophenolate mofetil, oral (J7517) and tacrolimus, oral (J7507). Clinics purchased less
than seven percent of the doses for each of these two HCPCs for oral medication, while hospitals
purchased less than four percent of the doses.

Federal Facilities as Primary Purchasers

Finally, the drugs in one study HCPC had 41 percent of all doses flow through federal facilities with
the remainder of the doses divided primarily among hospitals (27 percent), clinics (21 percent), and
mail service pharmacies (7 percent). The HCPC (J9219) was for leuprolide acetate implant, which is
used primarily for prostate cancer. The treatment of prostate cancer in Veterans Administration
hospitals would explain the high percentage of doses purchased for federal facilities.

Other Purchasers

HMOs did not purchase a substantial proportion of doses for any of the 25 HCPCs and purchased
more than one percent of all doses for only two HCPCs. This class of trade purchased less than one-
half of one percent of all doses for the remaining 23 study HCPCs. The IMS data did not include
PBMs as a class of trade, and, as discussed earlier, pharmacy benefit managers (PBMs), in general, do
not purchase drug products directly from manufacturers or wholesalers.

Mail service pharmacies, home health care facilities, and long term care facilities were not the
primary purchasers of drug products in any of the 25 study HCPCs. Mail service pharmacies
purchased less than two percent of all doses for 12 of the 25 study HCPCs and they purchased
between two and 29 percent of the doses for the remaining 13 HCPCs. Home health care facilities
purchased less than two percent of the doses for 19 of the 25 study HCPCs, and they purchased
between two and 21 percent of the doses for the six remaining HCPCs. Long term care facilities
purchased less than two percent of all doses for 22 of the 25 study HCPCs and they purchased
between two and four percent of the doses for the remaining three HCPCs.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 18
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 45 of 100

Exhibit 4.1: Share of Doses Purchased by Class of Trade, 25 study HCPCs, Third Quarter 2004

Classes of Trade
Retail

Patent Indepen- Food Mail Federal
HCPC Description Leading Brand Name Status dent Chain | Stores |All Retail] Service | HMOs | Clinics HHC Facilities} Other

a per

cancer

share of 14% 0% 37%
2004;

 

Notes:
Patent Status codes are as follows: SS = single source drug products; Co-SS = co-licensed or co-marketed; IMS = innovator multisource drug products; NMS = non-innovator multisource (generics)
HHCs are Home Health Care facilities and LTCs are Long Term Care facilities
Share of doses by class of trade were calculated by dividing the sum all of the doses sold to that channel in the third quarter of 2004 by the sum of all doses sold to all classes of trade

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 19
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 46 of 100

Exhibit 4.2: Share of Dollars by Class of Trade, 25 study HCPCs, Third Quarter 2004

 

Classes of Trade

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Retail
HCPC Patent Indepen- Food Mail Federal
Code HCPC Description Leading Brand Name} Status dent Chain Stores | All Retail | Service HMOs Clinics HHC LTC Hospitals | Facilities | Other

J0585 Botulinum toxin a per unit Botox ss 3% 4% 1% 8% 21% 0% 12% 2% 1% 51% 5% 0%
J0880 Darbepoetin alfa injection Aranesp ss 2% 3% 1% 6% 3% 0% 64% 1% 4% 20% 2% 0%
J1260 Dolasetron mesylate Anzemet Ss 0% 0% 0% 1% 0% 0% 46% 1% 0% 52% 0% 0%
J1441 Filgrastim 480 mcg injection Neupogen ss 6% 11% 2% 19% 5% 0% 25% 4% 2% 43% 3% 1%
J1563 IV immune globulin Multiple brands IMS/NMS 0% 0% 0% 0% 2% 0% 12% 23% 0% 60% 2% 0%
J1626 Granisetron HCI injection Kytril Ss 1% 0% 0% 1% 2% 0% 58% 4% 1% 34% 0% 0%
J1745 Infliximab injection Remicade ss 1% 0% 0% 1% 3% 0% 64% 4% 0% 26% 1% 0%
J2430 Pamidronate disodium /30 MG Pamidronate Disod IMS/NMS 1% 1% 0% 2% 1% 0% 70% 2% 1% 20% 3% 0%
J2792 Rho (D) immune globulin h, sd Winrho SDF SS/NMS 1% 1% 0% 2% 1% 0% 44% 3% 0% 47% 2% 1%
J3487 Zoledronic acid Zometa Ss 1% 0% 0% 1% 2% 0% 68% 1% 0% 27% 2% 0%
J7192 Factor viii recombinant Helixate FS ss 0% 0% 0% 0% 13% 0% 11% 16% 0% 58% 1% 0%
J7317 Sodium hyaluronate injection Hyalgan IMS/NMS 2% 4% 1% 7% 11% 0% 71% 1% 0% 7% 3% 0%
J7507 Tacrolimus oral per 1 MG Prograf ss 15% 35% 7% 57% 28% 0% 6% 1% 4% 4% 1% 0%
J7517 Mycophenolate mofetil oral Cellcept ss 14% 37% 7% 58% 28% 0% 5% 1% 3% 3% 1% 0%
J9045 Carboplatin injection Paraplatin Ss 1% 0% 0% 1% 1% 0% 59% 1% 0% 35% 2% 0%
J9170 Docetaxel Taxotere Ss 1% 0% 0% 1% 1% 0% 70% 1% 0% 24% 1% 0%
J9201 Gemcitabine HCl Gemzar ss 1% 0% 0% 1% 1% 0% 70% 1% 0% 26% 1% 0%
J9202 Goserelin acetate implant Zoladex Ss 1% 2% 0% 4% 4% 0% 62% 0% 1% 11% 18% 0%
J9206 Irinotecan injection Camptosar Ss 1% 0% 0% 1% 1% 2% 65% 1% 0% 27% 2% 0%
J9217 Leuprolide acetate suspension Lupron/Eligard SS/NMS 3% 4% 1% 9% 8% 2% 63% 2% 3% 13% 1% 0%
J9219 Leuprolide acetate implant Viadur SS/IMS/NMS 1% 1% 0% 2% 14% 0% 23% 3% 1% 30% 24% 1%
J9265 Paclitaxel injection Paclitaxel IMS/NMS 1% 0% 0% 2% 2% 1% 65% 2% 1% 27% 1% 0%
J9310 Rituximab cancer treatment Rituxan Ss 1% 0% 0% 1% 1% 0% 66% 1% 0% 30% 2% 0%
J9355 Trastuzumab Herceptin ss 1% 0% 0% 1% 1% 0% 54% 2% 0% 41% 1% 0%
Q0136 —_— {Non esrd epoetin alpha inj Procrit Co-SS 6% 7% 2% 15% 7% 0% 43% 2% 7% 25% 2% 0%
Class of trade share of sales volume of all HCPCs combined 3% 3% 1% 6% 4% 0% 60% 2% 2% 24% 1% 0%
Source: IMS National Sales Perspective Database, Third Quarter 2004; CMS; MediSpan

Notes:

Patent Status codes are as follows: SS = single source drug products; Co-SS = co-licensed or co-marketed; IMS = innovator multi-source drug products; NMS = non-innovator multi-source (generics)
HHCs are Home Health Care facilities and LTCs are Long Term Care facilities
Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 20

 
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 47 of 100

4.2 Average Invoice Prices

Variation in Average Invoice Prices per dose (AIP) by Class of Trade

AIP varied considerably among the three major classes of trade purchasing Part B drugs: clinics,
hospitals, and the retail classes of trade (Exhibit 4.3).'’ As a general rule, clinics (and physicians) paid
the lowest AIP per dose for most of the study HCPCs and the retail classes of trade paid the highest
AIP. This finding is not consistent with the findings from the interviews that physicians faced higher
net acquisition costs than hospitals; potential explanations will be presented in the “Summary and

’ Discussion” chapter. Also, keep in mind that AIP and net acquisition cost are not exactly the same as
previously discussed and that federal and other sales that are excluded from ASP may be reflected in
AIP. The comparison of AIP across classes of trade is based on the averages and does not evaluate or
measure the degree of dispersion in prices within or across classes of trade.

The retail classes of trade had the lowest AIP for only one of the 25 study HCPCs (J7192, factor viii
recombinant). For 19 of the study HCPCs, clinics paid the lowest AIP, while hospitals paid the
lowest AIP for five HCPCs.

Average Invoice Price per Dose (AIP) by Class of Trade Versus the All-Class AiP

An AIP for all classes of trade (less the federal facilities) was calculated to approximate the ASP
calculated by CMS with sales data that manufacturers are required to provide to CMS for each NDC-
11 on a quarterly basis (Exhibit 4.3). The AIP for clinics was higher than the AIP for all classes of
trade in the third quarter of 2004 for five of the 25 study HCPCs. Four of these five AIPs were above
the all-class AIP by two percent or less. For 20 of the 25 study HCPCs, the clinic AIP was less than
the all-class AIP. Ten of these HCPCs had AIPs that were more than 10 percent below the all-class
AIP; the extreme value was —27 percent.

Hospitals paid invoice prices that averaged more than the AIP for all classes for 18 of the 25 study
HCPCs, although for 11 of these HCPCs the hospital AIP was no more than four percent above the
all-class AIP. For the remaining six HCPCs, the average invoice price for hospitals ranged from five
percent to 39 percent more than the all-class AIP.

The retail classes of trade had AIPs that were greater than the ali-class AIP for 24 of the 25 study
HCPCs. Most (18) of these HCPCs had AIPs that were more than five percent above the all-class
average with an extreme value of 181 percent higher. Nine of the HCPCs had retail AIPs more than
20 percent above the all-class average. The retail AIP was lower than the all-class average for only
one HCPC—factor viii recombinant (J7192).

 

17 AIPs for major purchasers are in Exhibit 4.2; AIPs for all purchasers are in Appendices F and G.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 21
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 48 of 100

Exhibit 4.3. Average Invoice Price per Dose (AIP) by Major Purchaser Classes of Trade, 25 study HCPCs, Third Quarter 2004

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Variation from the All-Class AIP by
All-Class AIP (not AIP by Major Class of Trade Class of Trade
HCPC including federal
Code HCPC Description Leading Brand Name Patent Status facilities) Retail Clinic Hospital Retail Clinic Hospital
J0585 Botulinum toxin a per unit Botox Ss $4.30 $4.52 $3.60 $4.45 5% -16% 3%
J0880 Darbepoetin alfa injection Aranesp Ss $16.99 $21.24 $17.31 $14.41 25% 2% -15%
J1260 Dolasetron mesylate Anzemet ss $5.97 $6.36 $4.65 $7.05 7% -22% 18%
J1441 Filgrastim 480 mcg injection Neupogen ss $266.49 $301.54 $247.36 $259.55 13% -7% -3%
J1563 IV immune globulin Multiple brands IMS/NMS $40.74 $42.88 $42.16 $39.47 5% 3% -3%
J1626 Granisetron HCI injection Kytril ss $7.29 $15.07 $6.36 $7.61 107% -13% 4%
J1745 Infliximab injection Remicade ss $51.21 $52.04 $51.04 $51.46 2% 0% 0%
J2430 Pamidronate disodium /30 MG Pamidronate Disod IMS/NMS $65.79 $157.76 $62.84 $67.26 140% -4% 2%
J2792 Rho(D) immune globulin h, sd Winrho SDF SS/NMS $12.23 $12.97 $11.85 $12.45 6% -3% 2%
J3487 Zoledronic acid Zometa ss $187.69 $199.51 $186.37 $189.89 6% -1% 1%
J7192 Factor viii recombinant Helixate FS ss $831.81 $468.45 $742.35 $880.16 -44% -11% 6%
J7317 Sodium hyaluronate injection Hyalgan IMS/NMS $108.84 $115.68 $107.44 $113.74 6% -1% 5%
J7507 Tacrolimus oral per 1 MG Prograf Ss $3.08 $3.20 $2.52 $3.12 4% -18% 1%
J7517 Mycophenolate mofail oral Cellcept Ss $2.39 $2.46 $2.10 $2.42 3% -12% 1%
J9045 Carboplatin injection Paraplatin Ss $105.36 $128.63 $99.29 $113.68 22% -6% 8%
J9170 Docetaxel Taxotere ss $276.45 $303.95 $272.45 $286.74 10% -1% 4%
J9201 Gemcitabine HCI Gemzar ss $106.28 $109.84 $106.89 $103.99 3% 1% -2%
J9202 Goserelin acetate implant Zoladex Ss $192.36 $364.13 $180.79 $228.51 89% -6% 19%
J9206 Irinotecan injection Camptosar ss $117.78 $122.29 $118.01 $116.51 4% 0% -1%
J9217 Leuprolide acetate suspension Lupron/Eligard SS/NMS $245.30 $543.97 $180.15 $341.40 122% -27% 39%
J9219 Leuprolide acetate implant Viadur SS/IMS/NMS $2,534.03 $4,777.50 $2,192.80 $2,213.97 89% -13% -13%
J9265 Paclitaxel injection Paclitaxel IMS/NMS $20.69 $58.20 $18.67 $21.51 181% -10% 4%
J9310 Rituximab cancer treatment Rituxan ss $414.21 $428.07 $415.17 $411.45 3% 0% -1%
J9355 Trastuzumab Herceptin Ss $48.84 $53.38 $48.30 $49.29 9% -1% 1%
Q0136 Non esrd epoetin alpha inj Procrit Co-SS $7.18 $10.15 $5.58 $8.43 41% -22% 17%
* The All-Class AIP was calculated using the all-class weights for each drug product in the HCPC.
* The AIP for specific classes of trade was calculated using the class-specific weights for each drug product in the HCPC.

 

 

 

Abt Associates Inc.

Sales of Drugs and Biologicals to Large Volume Purchasers 22
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 49 of 100

Sources of Variation in AIP

The project team used the IMS data to address the question of whether the primary source of variation
in net acquisition costs by class of trade was purchasers in different classes of trade paying different
invoice prices for the very same drug (NDC-11) or whether purchasers in different classes of trade
also acquired different drug products within a given HCPC.

As a general rule, the bulk of the variation in average invoice prices could be attributed to the former
issue, but, for three of the 25 HCPCs examined, compositional differences exacerbated the pricing
patterns observed within NDC-11. In these three cases (J1260, Dolasetron mesylate; J1626,
Granisetron HC] injection; and J9217, leuprolide acetate suspension), the use of class-of-trade
specific weights increased the difference between the class-specific AIP and the all-class AIP by at
least five percentage points for at least one class of trade.

5.0 Results: Primary Data on Invoice Prices

The second part of the focused review was an examination of the primary invoice data. As previously
noted, the sample sizes were small in the primary invoice data due to a combination of low target
numbers of respondents and low response rates. This section of the report is based on 23 invoices
from six physicians’ offices and 38 invoices from 12 hospitals (a total of 61 invoices), numbers too
low to support much statistical analysis.

For two drugs, the limited invoice data showed that physicians paid statistically significantly more
than hospitals. For four drugs, the difference in average invoice prices between physicians and
hospitals was not statistically significant. Three of the six drugs had more than five physician
invoices. Based on these data, the coefficients of variation within the physician class of trades were 1
percent, 4 percent, and 6 percent for the three drugs'®. Four of the six drugs had more than five
hospital invoices. Based on these data, the coefficients of variation within the hospital class of trade
were 2 percent, 16 percent, 18 percent, and 39 percent. These estimated coefficients of variation
indicate that within-class variation existed and was substantial in some cases but do not offer precise
estimates of its extent because the total numbers of invoices were small. Given the small sample
sizes, these results should not be interpreted as conclusive in themselves but rather as suggestive of
patterns that might be explored in a more extensive sample of invoice price data, if such data were
available.

6.0 Summary and Discussion

This final chapter summarizes the findings in light of the research questions, discusses the
significance and limitations of the study, and offers directions for further research.

 

18 The coefficient of variation measures the typical deviation in the data, expressed as a percentage of the

mean. For example, if the coefficient of variation is six percent and the average invoice price is $100, then
the typical invoice prices varies from the average price by $6, either positively ($106) or negatively ($94).
We consider coefficients of variation in excess of five percent to be substantial.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 23
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 50 of 100

6.1 Summary

Response Rates

The interviews and primary data collection were conducted in April and May 2005. Pricing issues
appeared to be very sensitive for most participants in the Medicare Part B drug market.

Consequently, response rates for our study were lower than expected. Only three of the eleven
manufacturers contacted agreed to participate in interviews, and none was willing to submit ASP data
by class of trade for a focus drug.

Only one of the 20 wholesalers contacted participated in an interview, and this organization’s
contracts with manufacturers prohibited it from disclosing its contract pricing. Three of eight group
purchasing organizations (GPOs) contacted participated in interviews; two shared information on
their negotiated prices. Contact with 124 purchasers (physicians, hospitals, HMOs, and PBMs)
yielded 23 interviews and 69 invoices for focus drugs. These low response rates were themselves a
finding. Consistent with the finding of another recent report on a similar topic, we found that
“Organizations that buy or sell drugs covered by Medicare are likely to be unwilling to provide price
information voluntarily.” !”

Significance of the Findings for the Research Questions

In this section, we restate the study questions and describe the extent to which they have been
answered by the study’s findings.

1. What shares of the top drugs covered by Part B of Medicare are purchased by various types of
purchasers?

Interview and secondary data concurred that the major purchasers of the top drugs covered by Part B
of Medicare were physicians and hospitals, not GPOs, HMOs, or PBMs.

The secondary data analysis did offer volumes by class of trade for the categories of purchasers
defined in the IMS data. For most of the 25 study HCPCs, the class of trade with the largest share of
the market was clinics (including physicians’ offices); hospitals were usually the class of trade with
the second largest market share. Combined, these two classes accounted for more than 50 percent of
all doses given in all but three of the top 25 HCPCs studied. Retail pharmacies were the class of trade
with the third largest market share, and for two of the 25 HCPCs they accounted for more than 50
percent of all doses.

2. Do different types of purchasers face the same net acquisition costs for Part B prescription
drugs?

The study was unable to obtain data on net acquisition costs by type of purchaser. However, the
interviews suggested that different types of purchasers face different net acquisition costs and the
primary and secondary invoice data suggested that different purchasers face different invoice prices
for the prescription drugs offered by Medicare Part B examined in this study. In interviews, experts
and intermediaries were unanimous in the view that net acquisition costs varied across types of
purchasers; two manufacturers equivocated, however, and one disagreed. Comments made in
interviews also suggested that different types of purchasers acquired drugs through different

 

19 Thomas J. Hoerger and John Wittenborn “Assessment of Medicare Prescription Drug Prices,” Final Report,
RTI Project 07964.001 (client: CMS), July 2002.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 24
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 51 of 100

distribution channels, a fact that may facilitate differences in net acquisition cost, and that access to
special pricing terms from suppliers and to rebates differed among different types of purchasers.

The primary invoice data showed statistically significant differences in mean invoice prices between
physicians and hospitals for two out of the six focus drugs. The primary data also highlighted the fact
that invoice prices vary within as well as between the physician and hospital groups; coefficients of
variation ranged from 1 to 39 percent. In the secondary data (IMS data), average invoice prices
(AIPs) varied considerably among the major classes of trade purchasing Part B drugs.

Both comments made in interviews and a focused review of six HCPCs using secondary data
indicated that the main source of variation in net acquisition costs (interviews) or AIP (secondary
data) was different purchasers paying different prices for the same NDC-11, not different purchasers
choosing different NDC-11s for these drugs.

The interviews also yielded a list of purchaser-level drivers of net acquisition costs, namely class of
trade, ability to influence market share, volume, and purchaser expertise.

3. Which purchasers face lower and higher net acquisition costs?

While the study found that differences in net acquisition costs/invoice prices existed, we did not find
conclusive and consistent evidence concerning whether physicians were disadvantaged relative to
large volume purchasers. Both the interviews and the primary price data offered some anecdotal
information suggesting that physicians paid higher net prices than hospitals for some drugs.
Comments made in interviews suggested that physicians were at a disadvantage relative to hospitals
in terms of prompt pay and volume discounts from suppliers and rebates from manufacturers. In the
primary data on invoice prices, the mean invoice price for physicians was statistically significantly
higher than the mean invoice price for hospitals for two of the six focus drugs. In contrast, the
secondary data showed that as a general rule, clinics (the class that included physicians) faced the
lowest average invoice prices per dose of all the major classes of trade for most of the study HCPCs.

This discrepancy is difficult to explain. One part of the explanation may be that the clinic class of
trade in IMS Health’s data is broadly defined and includes some hospital outpatient departments
(including public health service and disproportionate share clinics, which are not included in the ASP
calculation) so the findings for clinics may understate invoice prices for physicians. It is possible that
interview respondents talked about pricing patterns over the full universe of drugs rather than
specifically about the drugs covered by Part B of Medicare, despite the interviewers’ efforts to focus
the conversation of the latter. Finally, it is also possible that interview respondents viewed rebates as
the driving force behind hospital’s costs being lower than physicians, a factor which was not captured
in the AIP analysis.

Both the primary data and the secondary data suggested that the retail sector faced higher net
acquisition costs than the physician (or clinic) and hospital sectors.

4. If differences in net acquisition costs exist, do they vary by drug?

Both the interviews and the secondary data analysis clearly indicated that differences in net
acquisition costs/average invoice prices varied by drug. The interviews highlighted that the presence
of therapeutic or generic competition was a critical factor. Drugs with little to no competition (i.e.,
unique patent-protected drugs) rarely, if ever, were sold at a discount or rebated. Drugs with limited
competition (i.e., branded, patent-protected drugs with a close therapeutic substitute) offered selective
discounting and rebating to certain classes of trade. Drugs with generic competitors in the market had

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 25
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 52 of 100

substantial discounts relative to list prices for all purchaser types. Interview respondents also noted
that the markets for oncology drugs were unique, even when compared with other Part B drugs.

5. Would differences in net acquisition costs for different types of purchasers be reflected in ASP
if it were calculated by class of trade?

As a conceptual matter, ASP differs from net acquisition cost because it does not account for
wholesaler and distributor mark-ups, which are part of net acquisition costs, and because it is reduced
by non-purchaser rebates, which are not part of purchasers’ net acquisition costs. Interview
respondents suggested that wholesalers’ and distributors’ margins were small and that the major
determinant of acquisition costs were pricing policies set at the manufacturer level and reflected in
ASP. The implication of these comments is that ASP calculated by class of trade would be likely to
reflect the differences in net acquisition costs by class of trade.

6. Are there differences in ASP when it is calculated for different types of purchasers?

The study was not conclusive on this point. No manufacturer submitted data on ASP by class of
trade, and no other market participant was in a position to comment directly on this subject.

7. Does excluding hospitals, HMOs, or other large volume purchasers affect ASP calculations?

The study was not conclusive on this point. The effect of excluding purchasers is the product of the
excluded purchasers’ share of the volume and the difference in ASP between the excluded purchasers
and those that remain. Because the study did not attain conclusive evidence on ASP by class of trade,
the study also is unable to answer this question.

6.2 Discussion

While this study did yield interesting information, as summarized above, it was not conclusive on the
key questions of whether physicians’ net acquisition costs were comparable to large volume
purchasers’ net acquisition costs and the effect on ASP of eliminating large volume purchasers from
the calculation. On the first point, findings from the interviews and the secondary data analysis were
inconsistent, making it difficult to draw conclusions with confidence.

In addition, both sources of data had significant limitations. For the primary data (both interviews
and invoices), the ultimate sample sizes were small, due to a combination of low target numbers of
respondent and low response rates. Ultimately, the project relied on 36 interviews and invoices from
six physicians’ offices and twelve hospitals. One cannot generalize from the interview findings; one
must view them as anecdotal and contextual information. Similarly, the sample of invoices did not
support much statistical analysis. Also, some interviews were incomplete or difficult to interpret,
due to the sensitivity and complexity of the material.

In both the primary and the secondary price data, the invoice price or the average invoice price (AIP)
differed from the net acquisition cost or average net acquisition cost because it did not capture special
pricing terms or manufacturer rebates.

Another limitation of the secondary data was that the AIPs were based on broad classes of trade,
many of which contained multiple sub-categories of purchasers believed to receive differential
pricing. For example, the “clinic” category contained physican offices, clinics, and some hospital
outpatient departments, including those that are eligible for federally-negotiated 340B pricing and not
included in the ASP calculation. Finally, the secondary price data consisted of average prices only
and did not provide measures of price dispersion within classes of trade.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 26
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 53 of 100

The study was also unable to estimate the impact of eliminating large volume purchasers from the
ASP calculation. Of eleven manufacturers contacted, three participated in interviews, but none
submitted data on ASP by class of trade. This lack of primary data combined with the limits of the
secondary data made it impossible to draw conclusions. AIP, as measured in the secondary data,
diverged from ASP because it included wholesaler and distrib utor mark-ups (which are not part of
ASP) and because it did not capture purchaser or non-purchaser rebates (which are part of ASP as a
negative number).

Two other issues affect this study. The study is based on data collected prior to or very shortly after
ASP implementation: the interview and invoice data were collected in the Spring of 2005 and the
IMS data draws on invoices from the third quarter of 2004. The market for the drugs covered by Part
B of Medicare may well change in response to the new environment created by the MMA.

In addition, classes of trade are not well-defined. The definitions of the various types of classes are
not clear and consistent among market participants, and market participants’ working definitions of
the classes of trade are not necessarily consistent with the MMA’s implied concepts of prudent
physicians and large volume purchasers.

The sensitive and confidential nature of prescription drug pricing makes this an extremely challenging
topic to research. To be successful, future work on net acquisition costs and ASP for the drugs
covered by Part B of Medicare requires adequate data, ideally data that overcomes some or all of the
limitations described above. At this point in time, market participants are not willing to provide price
data at a sufficient level of detail to permit a thorough analysis of net acquisition costs and average
selling prices by class of trade.

One potential source of such data would be IMS Health, which may have the potential to calculate
average invoice prices for more granular classes of trade; the experience of this project suggests that
IMS would be unlikely to make such data available and the data, even if it were available, would not
reflect rebates and other off-invoice price concession. A second potential source would be large-scale
primary data collection from purchasers. This would require a very large number of respondents,
perhaps 400 per class of trade per drug, and very significant resources; moreover, it would duplicate
work that is already done by IMS, albeit not for public purposes. GPOs are a third potential source of
data on net acquisition costs. Two of the eight GPOs contacted for this study had information about
both invoice prices and rebates and were willing to share it, but it is not clear whether additional
GPOs would participate in similar research.”” Furthermore, data collected from GPOs would not
reflect the full universe of purchasers. The final source of data is the manufacturers themselves, and
this project’s experience suggests that they would be unlikely to share data voluntarily.

In summary, this study provided an analysis, comparing net acquisition costs across purchasers for
the drugs covered by Medicare Part B, that was inconclusive and subject to limitations as just
described. The potential for future studies to draw conclusions about variation in net acquisition costs
across purchasers and the effect of large volume purchasers on ASP would depend almost entirely on
whether the substantial challenges concerning the availability of prescription drug pricing data could
be overcome.

 

20 One GPO accepted the interview but shared limited information; four declined actively or passively; and
one was ineligible.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers 27
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 54 of 100

Appendix A: List of Acronyms

 

AMA _ | American Medical Association

AMCP | Academy of Managed Care Pharmacy

ASHP | American Society of Health Systems Pharmacists
ASP Average Sales Price

AWP Average Wholesale Price

CMS Centers for Medicare and Medicaid Services
DAC Distributor Acquisition Cost

DSH Disproportionate Share Hospital

GPO Group Purchasing Organization

HCPC _ | Healthcare Common Procedure Code

HDMA | Healthcare Distribution Management Association
HHC Home Health Care Facility

HHS (The Department of) Health and Human Services
HMO Health Maintenance Organization

IRB Institutional Review Board

LTC Long Term Care Facility

LVP Large Volume Purchasers

MCO Managed Care Organization

MDDB | Medi-Span Master Drug Database

Mfg Manufacturer

MMA _| Medicare Prescription Drug, Improvement and Modernization Act
MMS Medical Marketing Services

NDC National Drug Code (NDC-11 — 11 digit NDC)
NSP National Sales Perspectives data (from IMS Heath)
OTN Oncology Therapeutic Network

PBM Pharmacy Benefit Manager

Phys Physician

VHA Veterans Health Administration

WAC _ | Wholesale Acquisition Cost

WS Wholesaler

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers A-1
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 55 of 100

Appendix B: Interview Methods

Overview

The data acquisition plan was designed to include primary and secondary data collection. In addition,
thought leaders or experts in the field were recruited to offer another perspective on the core research
questions, as well as to assist us in developing our research design and interview guide.

We set our target for data collection to be:

e Nine manufacturers;

e Seven wholesalers;

e Seven group purchasing organizations;

e Thirty-six independent physicians; and

e Seven or eight of each type of LVP (i.e., hospitals, HMOs, and PBMs).

For this study, these numbers were considered sufficient to acquire an initial perspective on market
issues related to ASP and the purchase patterns for covered Medicare Part B drugs.

Sample Sources and Selection Methods

Experts

An initial list of experts was developed using individuals cited in the public and policy media,
professional contacts of the project team, and recommendations of CMS. Next, a snowball strategy
(asking each respondent for names and qualifications of other potential respondents) generated
additional names, thus identifying the most promising candidates. The final list of 14 recruited
respondents was selected in a manner that would balance expertise from various types of market
participants (i.e., sellers, purchasers, and other observers) with those who were expected to have the
ability to speak in an informed and candid way about the purchase of Part B drugs.

Manufacturers

Our design called for interviews with nine manufacturers of Medicare Part B drugs. Eight brand
name and eight generic firms manufacture the six HCPCs listed above in Exhibit 2.2. All eight brand
name and three of the eight generic firms were included in our sampling frame. CMS provided the
names and contact information of the individuals who are responsible for submitting ASP data to
CMS on behalf of each manufacturer in our sample.

Wholesalers

Our design called for interviews with seven representatives of wholesalers or distributors. We
obtained the sample of wholesalers from the 2004 Healthcare Distribution Management Association
(HDMA) Directory. There were over 80 wholesalers on this list. We selected 20 wholesalers that
distributed to a wide range of classes of trade, with particular focus on firms that distributed to clinics
(which include physicians’ offices), hospitals, and managed care facilities. The HDMA Directory
also provided contact names for these wholesalers, who generally were either the President or Vice
President of the firm. We mailed invitation letters to 20 wholesalers.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers B-1
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 56 of 100

Group Purchasing Organizations (GPOs)

We obtained names of GPOs from the 2003 HDMA Industry Profile and Healthcare Factbook. Our
design called for interviews with seven representatives of GPOs. We used public sources, such as
websites, to obtain contact names for potential respondents, which generally was for the Director of
Pharmacy. Since some GPOs were subsidiaries of other GPOs on our list, we did not include the
subsidiary GPOs on our list. We mailed invitation letters to eight GPOs.

Physicians’ Purchasing Agents

Our design called for interviews with 36 physicians’ purchasing agents at independent physician
offices. To obtain a sample of physicians’ purchasing agents, we purchased data on 1,000 office-
based physicians from Medical Marketing Services (MMS) in February of 2005. According to
MMs’ records, all physicians were in a group practice with less than ten total physicians. This list
consisted of 750 oncologists and 250 hematologists.”’ The list of 1,000 physicians represented
physicians from six states — California, Florida, Illinois, Kentucky, Nebraska and New York, thus
reflecting both the various geographic regions of the country as well as a mix of urban and rural
physician offices.

To gather contact information for the appropriate physicians’ purchasing agents, we used the phone
numbers for physicians’ offices provided by MMS and placed phone calls to a random sample of
physician’s offices. At that time, we confirmed that at least one physician in the office treated the
ailment that one of the four anchor drugs is used for, such as breast cancer for Herceptin. We also
confirmed that the office was a stand-alone physicians’ clinic and not associated with a larger
hospital. If the physicians’ office met these conditions, we asked for the name of the person who
purchases drugs on behalf of the physicians in the office. We mailed invitation letters to 72
physicians’ purchasing agents.

Hospitals

To gather our list for the target goal of interviews with seven representatives of hospitals, we
contacted the American Society of Health System Pharmacists (ASHP) to obtain a list of large
hospitals. ASHP provided us with a list of the largest 50 hospitals in the country based on the total
number of staffed beds. This list included contact information for the pharmacy directors. After
removing Veterans’ hospitals and state hospitals from the list, Abt mailed invitation letters to the 20
largest hospitals on the list, with no more than three hospitals from the same state.

HMOs

Our design called for interviews with eight representatives of heath maintenance organizations
(HMOs). The top 25 top managed care firms by HMO enrollment were found in the 2003 Healthcare
Distribution Management Association (HDMA) Industry Profile and Healthcare Factbook. Abt, then,
used the 2002 Interstudy list to obtain contact information for the sampled HMOs. In most cases, we
selected the largest regional division. However, six of the 25 organizations were from California. To
avoid over sampling from this geographic region we selected the second largest regional division of
three of these organizations. We mailed invitation letters to 18 HMOs.

 

21 MMS receives this data from the American Medical Association (AMA). AMA gives MMS contact
information for almost all physicians in the U.S. A physician is excluded from the list only if he or she
requests being removed from all AMA mailing lists. AMA and MMS update their physician lists weekly.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers B-2
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 57 of 100

PBMs

We obtained the names of the top 20 Pharmacy Benefit Managers (PBMs) by number of covered
lives from the 2003 HDMA Industry Profile and Healthcare Factbook. We obtained contact
information for the 20 PBMs in our sample from the Academy of Managed Care Pharmacy (AMCP).
Our design called for interviews with seven representatives of PBMs and we mailed invitation letters
to 14 PBMs.

Recruitment Procedures

All potential respondents were mailed an initial recruitment letter, cosigned by a senior CMS staff
member and Abt’s Project Director, as well as a disclosure statement. Recruitment documents were
tailored for each respondent group. A member of the project staff followed up with a telephone call
to answer questions about the study and to schedule an interview if the respondent was interested in
participating. If the point of contact from our sample was not the correct person we followed-up to
identify the appropriate person for the interview, at which time we faxed or emailed the recruitment
letter and disclosure statement to the new potential respondent.

We placed numerous phone calls to all respondents until the respondent either: scheduled an
interview, refused to participate, or fell into the category of ‘passive refusal’ when we left at least five
unreturned voice messages for a potential respondent.

Discussion Guide

Abt developed an interview discussion guide in collaboration with the University of Minnesota and
CMS, based on CMS’ research questions. The interview guides varied for the different respondent
groups with specific questions unique to a respondent group, although certain questions were asked to
all respondents. The discussion guides were comprised of open-ended questions, which asked
wholesalers and purchasers about the acquisition process and acquisition costs and asked
manufacturers, wholesalers, and GPOs about customers and selling prices.

Abt conducted interviews with experts at the beginning of the data collection phase, which allowed
the team to increase its understanding of issues and to refine the discussion guide prior to data
collection with the other respondent groups.

Interview Procedures
All respondents were promised confidentiality in the report.

The interviews were designed to take 45 minutes. Most interviews with manufacturers, experts and
GPOs took approximately one hour. All interviewers and note-takers participated in a one-half-day
training session. This training oriented staff to the substantive issues related to the project, data
collection and recording processes, and informed consent procedures. Interviewers and note-takers
also participated in a second training session focused on interviewing skills, reviewing the interview
guide and data collection forms, and recruitment criteria. All interviewers were carefully trained to
ensure that they would maintain a neutral position throughout the interview.

Response Rates for Interviews

All interviews included in this report were conducted between April 1, 2005 and May 13, 2005. This
study was designed with the goal of conducting interviews with a total of 89 individuals, including
industry experts and representatives of manufacturers, wholesalers, GPOs, large volume purchasers

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers B-3
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 58 of 100

and physicians’ offices. Unfortunately, representatives from these organizations were often unwilling
to participate.

e Six of the 14 experts recruited to participate in an interview agreed to participate.

e Five of the 11 manufacturers directly refused to participate in the study and three
passively refused; only three manufacturers agreed to take part in an interview.

e Thirteen (65 percent) of the 20 wholesalers in our sample were considered a passive
refusal. Three more wholesalers declined to participate and three were ineligible.

e Three of the eight GPOs in our sample participated in an interview, three refused to
participate, one was ineligible and one was a passive refusal.

e Out of the 72 physician purchasing agents that we included in our sample, 39 (54
percent), were considered passive refusals; in these instances, we placed five or more
calls and did not receive a response. In addition, another 25 (35 percent) physician
purchasing agents directly refused to participate in the study with over half of those citing
the primary reason as time. These purchasing agents did not have the time to set aside to
participate in a research study. Even when we attempted to shorten the interview to 20
minutes rather than 45 minutes, time was still a factor in low participation.

e Over one-half of the hospitals in our sample agreed to participate in the interview, giving
us a total of 12 completed interviews.

e While almost one-half of the HMOs in our sample were in the passive refusal category,
eight of the 18 did agree to participate in an interview. We only conducted two interviews
.with representatives of HMOs, however, because six were ineligible.

e Eleven of the 14 PBMs in our sample agreed to participate in an interview, however we
only conducted 2 interviews because nine of the 11 were ineligible for the study because
they did not directly buy or sell the drugs.

Primary Data on Drug Pricing

At the end of the interviews with all respondent groups, except for experts, we invited respondents to
submit drug pricing data. Similar to the interview, this data collection process was completely
voluntary. Manufacturers, wholesalers, and GPOs were asked to fill out a data collection form. The
manufacturer data collection form requested ASP at the NDC-11 level by class of trade. The data
collection forms for wholesalers and GPOs requested list prices, invoice discounts, and rebates, if
applicable, at the NDC-11 level by class of trade. These forms were carefully customized in light of
information received during the interview.

Physician purchasing agents, hospitals, HMOs and PBMs were asked to submit pricing data regarding
drug products in the six focus HCPCs in the form of a recent invoice. At the end of an interview, we
asked respondents from these groups if they would be willing to share with us a copy of a recent
invoice for the purchase of one or more drug products from the six focus HCPCs. If they agreed, we
gave respondents the opportunity to fax, e-mail or mail us the invoices.

Most of the invoices submitted were dated March or April 2005.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers B-4
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 59 of 100

Response Rates for Primary Data

As previously mentioned, respondents were asked to provide limited drug pricing data during the
interview and to provide documentation of the price (e.g., a copy of a recent invoice) or a completed
data collection form. The second column in Exhibit 2.4 (N Submitting Data Forms) details the
number of respondents who provided data to Abt upon completion of the interview.

No manufacturer submitted complete data on ASP by class of trade for a focus drug.

The only wholesaler respondent was unable to provide detailed pricing data either during the
interview or in a data collection form. This respondent expressed that their contracts with
manufacturers prohibit disclosing pricing terms. The respondent did discuss its selling price for one
drug when it sold that drug at its own “wholesaler discount” as opposed to at a contract price.

Two of the three group purchasing organizations (GPOs) interviewed completed Abt’s data collection
form. Neither of the GPOs disclosed the average prices paid by different types of purchasers,
however, they each provided information on the level of discounts and rebates available to each class
of trade for each of the six focus drugs they distributed.

Six of the seven physician purchasing agents faxed one or more invoices after completion of the
interview.
All 12 of the hospitals interviewed faxed invoices for at least one of the six focus drugs. In many

cases, an invoice for more than one of the study drugs was faxed.

Representatives from two HMOs and two PBMs were interviewed. One of each of these two
respondents provided data both during the interview and in a follow-up data collection form.

Review of Study Procedures

The Abt Associates Institutional Review Board (IRB) reviewed and approved the study protocol,
including the disclosure statement, interview discussion guides, the data collection forms, recruitment
strategies and materials, and a data security plan. Respondents were not given any monetary or other
compensation for participating.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers B-5
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 60 of 100

.

Appendix C: Interview Respondents

Description of Interview Respondents

Experts: Early in the data collection, the project team interviewed six experts, defined as individuals
who were very knowledgeable about pricing practices and variation in acquisition costs. In the
majority of cases, these experts were also direct participants in the supply chain, but, in contrast to
respondents in other categories, experts were asked about pricing in general as opposed to their own
individual situation.

Manufacturers: The project team spoke with senior managers at three pharmaceutical
manufacturers, each of which made at least one of the six focus drugs. In two cases, the interview
focused on the focus drug; in the third, the manufacturer opted to discuss another major Part B drug
that it made. In every case, more than one individual participated in the interview, which we interpret
as an indication of the significance and sensitivity of the topics of average selling prices and variation
in average selling prices from their point of view. All manufacturers indicated that the study drug was
administered in both physicians’ offices and in hospital outpatient departments and that Medicare
paid for a significant share of the study drug, defined as at least 35 percent of total units sold.”

Wholesalers: The project team conducted an interview with one major national wholesaler.

Group Purchasing Organizations (GPOs): Three GPOs were interviewed. Two of these were large
national GPOs, which worked on behalf of physicians, hospitals, and clients in other sectors; the third
GPO worked with hospitals exclusively.

Physicians: We interviewed seven respondents from independent physician offices who purchase
drugs on behalf of their practices. Respondents were responsible for practice administration or
finance. Four of the respondents were at stand-alone clinics. The three remaining respondents were
affiliated with a group of clinics (ranging from three to 12 clinics) that had centralized drug
purchasing. These clinics may have been affiliated with a hospital, but all drug purchasing was
conducted independent of the hospital.

Hospitals: The project team spoke with representatives of twelve hospitals, which spanned the
country geographically. All but one of the respondents were part of a multi-hospital system and all
were not-for-profit (NFP). The responding hospitals ranged from 500 to 1,400 beds. Several were
academic medical centers, which represent a distinct class of trade from traditional community
hospitals. Two hospitals were 340B-eligible, and hence purchased their Medicare Part B drugs at
prices that are exempt from the ASP calculation. We discussed their inpatient purchases instead.

HMOs: Eight representatives of HMOs agreed to participate in interviews; however, only two of the
eight HMOs actually purchased drugs directly and were able to complete an interview. Both HMO
interviews were with the HMO’s Pharmacy Director.

PBMs: Eleven representatives of PBMs agreed to participate in an interview; however, of those
eleven respondents, only two were PBMs that directly purchased prescription drugs from wholesalers
or manufacturers. The interviews for one of the PBMs included five high-level executives in

 

22 The project team promised confidentiality to all interview respondents. Because of the small number of
manufacturers of case study drugs and the small number of respondents (three manufacturers), we provide
extremely limited information about the companies we spoke to and the drugs we spoke about.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers C-1
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 61 of 100

a

pharmacy and industry relations, and at the other PBM the interview was with the director of
pharmacy and the general manager.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers C-2
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 62 of 100

.

Appendix D: Top 35 Medicare HCPCs, 2003

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

HCPC 2003 Medicare % of 2003 Case Study
Code HCPC Description Rank $ Exp. Expenditures) Study Drug Drug
Q0136 Non ESRD epoetin alpha inj 1 $ 1,035,540,983 9.8% Yes Yes
J9217 Leuprolide acetate suspension 2 $ 726,196,566 6.9% Yes Yes
J7644 Ipratropium brom inh sol ud 3 $ 725,667,328 6.9% **
J9310 Rituximab cancer treatment 4 $ 580,936,425 5.5% Yes
J0880 Darbepoetin alfa injection 5 $ 531,892,548 5.1% Yes Yes
J1745 Infliximab injection 6 $ 495,570,356 4.7% Yes
J7619 Albuterol inh sol ud 7 $ 490,536,839 4.7% +
J9202 Goserelin acetate implant 8 $ 449,001,729 4.3% Yes Yes
J9170 Docetaxel 9 $ 304,390,915 2.9% Yes
J9045 Carboplatin injection 10 $ 269,251,108 2.6% Yes
J9265 Paclitaxel injection 11 $ 260,448,815 2.5% Yes Yes
J3490 Drugs unclassified injection 12 |$ 255,856,152 2.4% “ee
J3487 Zoledronic acid 13 |$ 231,196,491 2.2% Yes
J2792 Rho (D) immune globulin h, sd 14 |$ 214,956,245 2.0% Yes
J9201 Gemcitabine HCl 15 |$ 204,767,764 1.9% Yes
_ Q4053 Pegfilgrastim 16 |$ 201,851,149 1.9% “*
J9206 Irinotecan injection 17 |$ 183,148,147 1.7% Yes
J1563 IV immune globulin 18 |$ 173,525,870 1.6% Yes
J9999 Chemotherapy drug 19 |$ 166,208,940 1.6% “ee
J3395 Verteporfin injection 20 |$ 149,045,921 1.4% **
J1260 Dolasetron mesylate 21 $ 142,912,265 1.4% Yes
J2430 |Pamidronate disodium /30 MG 22 |$ 122,474,923 1.2% Yes
J7320 [Hylan G-F 20 injection 23 $ 112,435,690 1.1% *
90658 |Flu vaccine, 3 yrs, im 24 |$ 103,591,765 1.0% “ee
J7517 Mycophenolate mofetil oral 25 |$ 101,528,910 1.0% Yes
J0151 Adenosine injection 26 | $ 94,749,452 0.9% “
J9355 Trastuzumab 27 $ 89,053,943 0.8% Yes Yes
J7507 Tacrolimus oral per 1 MG 28 | $ 85,081,668 0.8% Yes
J7626 Budesonide inhalation sol 29 | §$ 84,776,964 0.8% wees
J1626 Granisetron HCl injection 30 | $ 81,894,280 0.8% Yes
J1441 Filgrastim 480 mcg injection 31 $ 77,830,404 0.7% Yes
J9219 Leuprolide acetate implant 32 $ 76,492,962 0.7% Yes
J7317 Sodium hyaluronate injection 33 | $ 66,631,851 0.6% Yes
J7192 Factor viii recombinant 34 | §$ 58,917,219 0.6% Yes
J0585 [Botulinum toxin a per unit 35 | $ 53,543,597 0.5% Yes
Total 2003 Medicare Expenditures, Top 35 HCPCs $ 9,001,906,184 85.6%

 

 

Total 2003 Medicare Expenditures, All HCPCs

 

$ 10,518,929,270

 

100.0%

 

Note: Medicare expenditures data was carrier paid amount for Part B drugs provided by CMS for the year 2003.
* HCPC code was excluded because HCPC was not assigned NDC- 11s in the third quarter 2004 weight file.
HCPC code was excluded because no IMS data was available for the only NDC-11 assigned to this HCPC in the

tk

third quarter 2004 weight file.

were related to the HCPC codes.

wk

HCPC code was excluded because it is rarely a physician-administered drug.

25 5 HCPCs

 

6 HCPCs

 

HCPC code was excluded as a respiratory drug, a vaccine, or because it was impossible to identify NDCs that

 

Abt Associates Inc.

Sales of Drugs and Biologicals to Large Volume Purchasers

D-1
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 63 of 100

Appendix E: Subcategories of IMS’ Classes of Trade

 

Retail Classes of Trade

 

Class of Trade

Subcategory

 

Chain

(C2 - Mass merchandise/discount store with a pharmacy

 

P2 - Chain pharmacy with 11 or more stores

 

P3 - Chain pharmacy with 4-10 stores

 

R2 - Mass merchandise/discount store without a pharmacy

 

R6 - Chain HBA store without a pharmacy

 

W4 - Drug chains not reporting sales to DDD

 

Wé6 - Mass merchandise warehouse not reporting sales to DDD

 

Z1 - Zip retail pharmacy

 

Independent

C1 - Miscellaneous retail store with a pharmacy

 

PO - Independent pharmacy located in a hospital

 

P1 - Independent pharmacy

 

R65 - Independent HBA store without a pharmacy

 

S4 - Depot pharmacy

 

Foodstore

C3 - Food/convenience store with a pharmacy

 

C4 - Supermarket with a pharmacy

 

W5 - Grocery warehouse (non-reporting)

 

Mail Service

G7 - Federal government mail service pharmacy (nor-reporting)

 

G8 - Federal government mail service pharmacy (reporting)

 

10 - Internet Pharmacy (reporting)

 

15 - Internet Pharmacy (non-reporting)

 

S5 - Mail service pharmacy (non-reporting)

 

Z2 - ZIP mail service pharmacy sales (ZIP of patient)

 

   

Class of Trade

'Z6 - ZIP mail service doctor sales (ZIP of physician)

Subcategory

 

Non-Fed
Hospitals

A2 - Nor-reporting hospital/purchasing agent/ city, county, & state agencies

 

|A3 - Unit dose, nuclear pharmacy

 

H1 - Non-federal hospitals including pharmacy depts., clinics & doctors at hospital

 

H4 - Special inpatient treatment facility (hospice, drug/alcohol rehabilitation)

 

W8 - Non-reporting hospital/medical/surgical supply warehouse

 

24 - Zip hospital sales

 

Federal Facilities

/A4 - Federal government depot/hospital agent (less than $10,000 per month)

 

F3 - Native American Indian Hospital

 

F4 - Native American Indian Clinic

 

G1 - US Ships

 

G2 - VA hospital

 

G3 - Federal government hospital (non-VA)

 

G4 - Federal government (non-VA) outpatient care facility
G6 - VA outpatient clinic/pharmacy

 

 

S8 - Federal government depot/hospital agent (more than $10,000 per month)

 

Abt Associates Inc.

Sales of Drugs and Biologicals to Large Volume Purchasers E-1
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 64 of 100

 

Retail Classes of Trade

 

Class of Trade

Subcategory

 

Long-Term Care

G9 - VA nursing home

 

N1 - Nursing home residential care facility without a hospital

 

N2 - Nursing home and institutional provider (100% of business)

 

N4 - Chain nursing home provider (100% of business)

 

P7 - Nursing home pharmacy (servicing multiple NHS)/purchasing services

 

Z9 - Zip nursing home

 

HMOs

A5 - Kaiser Permanente warehouse/purchasing agent

 

A6 - HMO warehouse/purchasing agent (Non-Kaiser Permanente)

 

H5 - Kaiser Permanente hospital

 

H7 - Kaiser Permanente pharmacy

 

H8 - Kaiser Permanente clinic

 

N8 - Group net pharmacy

 

N9Q - Group net clinic

 

P8 - HMO pharmacy/HMO pharmacy depot (non-Kaiser Permanente)

 

P9 - HMO clinic/HMO purchasing agent (non-hospital, non-Kaiser Permanente)

 

S2 - HMO hospital (non-Kaiser Permanente)

 

U0 - Workmen compensation clinic

 

U3 - Union shop clinic

 

U4 - Union shop pharmacy

 

U8 - Workmen compensation clinic

 

Clinics

D1 - Outpatient clinic/doctor

 

D8 - Orthopedic clinic/physician office

 

D2 - Dialysis clinic/center/teaching facility

 

D3 - Family planning, birth control, planned parenthood clinic

 

D5 - X-ray, radiology, nephrology, urology clinic

 

D6 - Oncology clinic

 

D7 — Emergency center (not hospital affiliated)

 

H2 - Dialysis department/center located inside a hospital or on complex

 

H3 - Outpatient department/clinic/pharmacy at a hospital

 

H6 - Outpatient surgical clinic (not at a hospital) including abortion, oral & plastic
surgery clinics

 

H9 - Outpatient PHS or disproportionate clinic

 

Z3 - Zip physician sales

 

Home Health Care

N3 -Visiting nurse (home healthcare services)

 

MISCELLANEOUS

 

Class of Trade

Subcategory

 

Prisons

M1 - City/county/state and misc. accounts (incl. city jails and juvenile detention
centers

 

M2 - County/state prisons

 

M3 - Federal prisons (not city jails or juvenile detention centers)

 

Universities

M6 - Residential school, college/university without a hospital

 

Other

E1 - Export company

 

G5 - Federal government non-health related account (fed or military facility)

 

 

M5 - Veterinarian, animal hospital; veterinarian supply warehouse

 

 

Abt Associates Inc.

Sales of Drugs and Biologicals to Large Volume Purchasers E-2
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 65 of 100

.

 

Retail Classes of Trade

 

Class of Trade Subcategory

R1 - Miscellaneous retail store without a pharmacy

R3 - Food/convenience store without a pharmacy

R4 - Supermarket without a pharmacy

Z5 - ZIP Miscellaneous (one-time or infrequent sales)

Z7 - ZIP nursing home patient sales (to ZIP code of patient)

28 ~ ZIP nursing home doctor sales (to ZIP code of physician)

Source: DDD Outlet Subcategory Codes, IMS Health, October 2002.

Note: IMS defines mail-service pharmacies as a retail class of trade; however, in our analysis of the retail

classes of trade combined (in Section 4) we excluded this class. Mail service pharmacies are in a separate class
of trade, see different prices and are structured differently from the three retail classes of trade.

 

 

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers E-3
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 66 of 100

Appendix F: Average Invoice Price per Dose (AIP) by Class of Trade,
25 Study HCPCs

Classes of Trade

All-Class AIP
(not including Retail
Leading Brand federal zi Mail Federal
HCPC Description Name facilities) dent Chain | Stores |All Retail| Service | HMOs | Clinics | HHC LTC |Hospitals| Facilities | Other

a per un

cancer

    

: 2004;
Notes:
Patent Status codes are as follows: SS = single source drug products; Co-SS = co-licensed or co-marketed; IMS = innovator multi-source drug products; NMS = non-innovator multi-source (generics)
HHCs are Home Health Care facilities and LTCs are Long Term Care facilities.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers F-1
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 67 of 100

Appendix G: Variation from the All-Class Average Invoice Price per Dose
(AIP) by Class of Trade, 25 Study HCPCs

of Trade

Retail

Indepen- Food Mail Federal
HCPC Description Leading Brand Name | Patent Status dent Chain | Stores |All Retail} Service | HMOs Clinics HHC LTC |Hospitals Facilities

a per 2

cancer

 

      

Ni Database, 2004;
Notes:
Patent Status codes are as follows: SS = single source drug products; Co-SS = co-licensed or co-marketed; IMS = innovator multi-source drug products; NMS = non-innovator multi-source (generics)

HHCs are Home Health Care facilities and LTCs are Long Term Care facilities

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers C1
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 68 of 100

Appendix H: Average Invoice Price per Dose (AIP) by Major Class of Trade,

Comparison of All-Class Weights and Class of Trade- Specific Weights, 25
Study HCPCs

All-Class Weights Class-of-Trade Specific Weights

Variation from theAll- Variation from the All-
All-Class
AIP (not Class AIP by Class of Class AIP by Class of | Results
including | AIP Class of Trade Trade AIP Class of Trade Trade Differ?
Leading Brand federal
HCPC Description Name facilities) Retail Clinic | Hospital | Retail | Clinic Retail Clinic | Hospital | Retail | Clinic |Hospital
a per 5 z : : - -

cancer

 

Patent Status codes are as follows: SS = single source drug products; Co-SS = co-licensed or co-marketed; IMS = innovator multisource drug products; NMS = non-innovator multisource (generics)
The retail classes of trade are independent pharmacies, chain pharmacies and food stores.

The all-class weights reflect the shares of each NDC-11 within the HCPC for all classes of trade combined. The class-of trade specific weights reflect the shares of each NDC-11 within the HCPC for the
individual class of trade.

The indicator for whether the results differ is positive if AIP is defined for all major classes of trade and the use of class-of-trade specific weights increased the absolute value of the difference between the
class-o -trade specific AIP and the all-class AIP by at least five percentage points.

 

Abt Associates Inc. Sales of Drugs and Biologicals to Large Volume Purchasers H-1
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 69 of 100

EXHIBIT 3
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 70 of 100

NOTE: You must click here for very important D&B information. (/pages/db.aspx)

()
Search Data by Keyword Search Site

@ Enter Keyword [_}

Advanced Data Search (/Pages/AdvancedSearch.aspx)

An official website of the U.S. Government

USAspending (/Pages/default.aspx) > Advanced Data Search

ADVANCED DATA SEARCH

Fiscal Year and Spending Type are required selections; you may select multiple filters in every category.
Search results display up to 1,000,000 transactions; however, you can download all transactions. The
downloaded zip file contains spreadsheets for each Spending Type selected. Sub-award data for all
Spending Types is in a separate spreadsheet.

In the Search Results, click on Recipient Name to go to the Recipient Profile; click on the Award ID to
see the Award Summary; click on header to sort the columns.

+ SEARCH CRITERIA

RESULTS SUMMARY

Change Search Filters &

Filters: herceptin; Contracts, Grants, Loans, Other Financial Assistance; FY 2017, FY 2016, FY 2015,
FY 2014, FY 2013, FY 2012, FY 2011, FY 2010, FY 2009, FY 2008

 

Total Number of Transactions

79

 

Total Prime Recipient Transaction Amount

$5,309,027

 

Total Sub-Award Transaction Amount

$8,429

 

 

 

50 Contracts

 

 

 
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 71 of 100

EXHIBIT 4
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17

°

AWARD SUMMARY

CARDINAL HEALTH, INC.

 

r

\.

AWARD OVERVIEW

Award Number

Order Number

Awarding Agency

Award Date

Total Award Amount

Total Number of Transactions
Total Number of Sub-Awards
Total Amount of Sub-Awards

SPM2DX10D0028
U347

Department of Defense
4/11/2012

$40,686

4

0

$0

 

rc

RECIPIENT INFORMATION

Recipient Name

Recipient DUNS Number
Recipient Address

Recipient City

Recipient State

Recipient Congressional District
Recipient Country

Executive Compensation Provided

CARDINAL HEALTH, INC.
801423062

5555 GLENDON CT
Dublin

Ohio

OH-12

United States of America

The Prime awardee has declared that, for this
DUNS, no reporting of executive
compensation is required under Section 6202
of P.L. 110-252, amending the Federal
Funding Accountability and Transparency Act
(P.L. 109-282).

 

 

ALL TRANSACTIONS

 

<< < 1 > >> Page 1 of 1

 

 

 

Award Number

Modification Number

SPM2DX10D0028
0

Page 72 of 100

 
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 73 of 100

EXHIBIT 5
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 74 of 100

AWARD SUMMARY

CARDINAL HEALTH, INC.

AWARD OVERVIEW

 

Award Number SPM2DX10D0028
Order Number BV30
Awarding Agency Department of Defense
Award Date 6/23/2014
Total Award Amount $30,216

Total Number of Transactions 1

Total Number of Sub-Awards 0

Total Amount of Sub-Awards $0

\ a

 

( ~

RECIPIENT INFORMATION

Recipient Name CARDINAL HEALTH, INC.
Recipient DUNS Number 801423062
Recipient Address 5555 GLENDON CT
Recipient City Dublin
Recipient State Ohio
Recipient Congressional District OH-12
Recipient Country United States of America

Executive Compensation Provided The Prime awardee has deciared that, for this
DUNS, no reporting of executive
compensation is required under Section 6202
of P.L. 110-252, amending the Federal
Funding Accountability and Transparency Act
(P.L. 109-282).

 

ALL TRANSACTIONS

 

<< < 1 > >> Page 1 of 1

 

 

 

Award Number SPM2DX10D0028

Modification Number 0

 

 
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 75 of 100

EXHIBIT 6
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 76 of 100

€

CARDINAL HEALTH, INC.

 

c

\

AWARD OVERVIEW

Award Number

Order Number

Awarding Agency

Award Date

Total Award Amount

Total Number of Transactions
Total Number of Sub-Awards
Total Amount of Sub-Awards

SPM2DX10D0028
BY81

Department of Defense
8/4/2014

$66,570

1

0

$0

 

a

RECIPIENT INFORMATION

Recipient Name

Recipient DUNS Number
Recipient Address

Recipient City

Recipient State

Recipient Congressional District
Recipient Country

Executive Compensation Provided

CARDINAL HEALTH, INC.
801423062

5555 GLENDON CT
Dublin

Ohio

OH-12

United States of America

The Prime awardee has declared that, for this
DUNS, no reporting of executive compensation
is required under Section 6202 of P.L. 110-252,
amending the Federal Funding Accountability
and Transparency Act (P.L. 109-282).

 

 

ALL TRANSACTIONS

 

 

ALL SUB-AWARDS

No Sub-Award Data

 

 
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 77 of 100

EXHIBIT 7

4
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17

VA » OAL » NAC » CCST Home » Search Menu » Pharmaceutical Catalog Search » Item Details

National Acquisition Center (CCST)

Item Details: 50242-0134-68

 

NATIONAL DRUG CODE (NDC):
GENERIC NAME:

TRADE NAME:

VA CLASS:

FSS PRICE:

PRICE PER DOSAGE:

PRIME VENDOR (PV):

50242-0134-68

TRASTUZUMAB 440MG/VIL INJ

HERCEPTIN 440MG/VIL INJ W/20ML DILUENT
ANTINEOPLASTIC,OTHER

$4,000.34

$4,000.34

YES

FSS: V797D-60724, Genentech USA details

CONTRACT POINT OF
CONTACT:

NAME: Kevin Mosca
PHONE: 650-225-3206
FAX:

EMAIL: | mosca.kevin@gene.com

CORPORATE ADDRESS:

ADDRESS: 1 DNA Way, MS 315A
ADDRESS:

city: South San Francisco
STATE: CA

ZIPCODE: 94080

SITE: Web Site

DUNS: 808043678#

SOCIOECONOMIC
INFORMATION: (IF ALL
FIELDS BELOW ARE BLANK
THEN SIZE IS OTHER THAN
SMALL)

SMALL:

SDB:

VETERAN OWNED:
WOMAN OWNED:
DISABLED VETERAN: _
HUB ZONE:

8A:

CONTRACT DATES: PAYMENT/DELIVERY INFORMATION:

AWARDED: 9/30/2016 CREDIT CARD ACCEPTED: Yes

EFFECTIVE: 9/30/2016 CREDIT CARD DISCOUNT: None

EXPIRATION: 9/29/2021 MINIMUM ORDER: One Unit for Direct Orders Only

NAC CONTRACTING OFFICER DELIVERY TERMS: 2 to 5 Days After Receipt of Order

(CO): EXPEDITED DELIVERY: 24 hrs ARO (Mondays-Thursdays only)

NAME: Deborah Bukowski Deliveries can be made Friday and Saturday
. for urgent requests with no additional freight

PHONE: (708) 786-5219 charges.

EMAIL: deborah,bukowski@va.gov DISCOUNT INFORMATION:

ORDERING CONTACT: PROMPT PAYMENT: 2% 30, Net 31 Days for Direct Orders Only

ADDRESS: QUANTITY DISCOUNT: None
CITy:
= WARRANTY INFORMATION:

ZIPCODE: DETAILS: Government Clause
PHONE:

FAX:

EMAIL:

EMERGENCY CONTACT:
NAME:
PHONE:

Page 78 of 100
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 79 of 100

EXHIBIT 8
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 80 of 100

 

 

Buyers: Login | Register

Location: Department of Veterans Affairs National Acquisition Center

Notice Details Packages

Original Synopsis
Nov 05, 2016
11:37 am

Interested Vendors List

Return To Opportunities List

Solicitation Number: Notice Type:
65 Award Notice

Contract Award Date:
September 30, 2016

Contract Award Number:
V797D-60724

Contract Award Dollar Amount:
3,850,225,230.00

Contract Line Item Number:
70

Contractor Awarded DUNS:
808043678

Contractor Awardee:
GENENTECH USA, INC;1 DNA WAY;SOUTH SAN FRANCISCO;CA;94080

Synopsis:
Added: Nov 05, 2016 11:37 am
No Description Provided

Piease consult the list of document viewers if you cannot open a file.

Attachment

Type: Other (Draft RFPs/RFls, Responses to Questions, etc..)
Posted Date: November 5, 2016

https: /Avww vendorportal.ecms.va.gov/F BODocumentSery..
Description: VA797F-16-AP-0002 V797D-60724.docx

Additional Info:
ESS Homepage

Contracting Office Address:
Department of Veterans Affairs;OA&L / National Acquisition Center;Building
37;1st Avenue, One Block North of Cermak;Hines IL 60141

Point of Contact(s):

FSS Service Help Desk
708-786-7737
helpdesk.ammhinfss@va.gov

ESS Help Desk Email

Return To Opportunities List

Vendors: Login | Register

Accessibility

65--Genetech USA, Inc 65IB Drugs, Pharmaceuticals and Hematology related

products

Solicitation Number: 65

Agency: Department of Veterans Affairs
Office: VA National Acquisition Center

Print Link
ALL FILES

Attachment L]
Nov 05, 2016
VAT97F-16-AP-0002 V7...

GENERAL INFORMATION
Notice Type:

Award Notice

Posted Date:

November 5, 2016

Response Date:

Archiving Policy:

Automatic, 15 days after award date
Archive Date:

November 29, 2016

Original Set Aside:
NIA

Set Aside:
NIA

Classification Code:

65 — Medical, dental & veterinary
equipment & supplies

NAICS Code:

325 — Chemical
Manufacturing/325412 —
Pharmaceutical Preparation
Manufacturing

FCA_Street-Paulson00000193
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17

Page 81 of 100

 

FedBizOpps
Award Notice

 

 

(CLASSIFICATION CODE *

65

 

ISUBJECT *

Genetech USA,
65IB Drugs, Pharmaceuticals and Hematology related products

Inc

 

 

GENERAL INFORMATION

 

CONTRACTING OFFICE'S *
P-CODE

60141

 

[SOLICITATION NUMBER *

65

 

 

 

 

 

 

 

 

IBASE NOTICE TYPE

[ARCHIVE 60 DAYS AFTER THE AWARD DATE

IRECOVERY ACT FUNDS

INAICS CODE * 325412

ISET-ASIDE
Department of Veterans Affairs

CONTRACTING OFFICE OA&L / National Acquisition Center
Building 37

DDRESS 1st Avenue, One Block North of Cermak

Hines IL 60141

DESCRIPTION See Attachment

 

POINTOF CONTACT *

(POC Information Automatically Filled from
User Profile Untess Entered)

FSS Service Help Desk
708-786-7737
helpdesk. ammhinfss@va.gov

 

AWARD INFORMATION

 

 

WARD NUMBER *

V797D-60724

 

 

lAWARD AMOUNT *

3,850,225,230.00

 

JLINE ITEM NUMBER

70

 

warp DATE (MM-DD-YYYY) *

09-30-2016

 

JAWARDEE NAME *

GENENTECH USA,

Inc

 

[CONTRACTOR'S DUNS NUMBER

808043678

 

JAWARDEE ADDRESS LINE 1

 

JAWARDEE ADDRESS LINE 2

 

JAWARDEE ADDRESS LINE 3

+] oF] oF] OF

1 DNA WAY

 

JAWARDEE ADDRESS LINE 4

 

JAWARDEE CITY

SOUTH SAN FRANCISCO

 

|AWARDEE STATE

CA

 

WARDEE ZIP CODE

94080

 

ADDITIONAL INFORMATION

 

 

GENCY'S URL

www. fss.va.gov

 

JURL DESCRIPTION

FSS Homepage

 

AGENCY CONTACT'S EMAIL
DDRESS

PSS .Help@va.gov

 

JEMAIL DESCRIPTION

 

FSS Help Desk Bmail

 

 

* = Required Field

Award Notice

FedBizOp
2010

Rev. Mar

FCA_Street-Paulson00000194
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 82 of 100

EXHIBIT 9
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 83 of 100

Trastuzumab Monograph

 

Trastuzumab (Herceptin®)
National Drug Monograph
December 2014

VA Pharmacy Benefits Management Services, Medical Advisory Panel, and VISN Pharmacist Executives

 

The purpose of VA PBM Services drug monographs is to provide a comprehensive drug review for making formulary decisions.
Updates will be made when new clinical data warrant additional formulary discussion. Documents will be placed in the Archive
section when the information is deemed to be no longer current.

FDA Approval Information’
Description/Mechanism of
Action

Indication(s) Under Review in
this document (may include
off label)

Dosage Form(s) Under
Review

REMS

Pregnancy Rating

Background
Purpose for review

Trastuzumab is a HER2/neu receptor antagonist that mediates antibody-
dependent cellular cytotoxicity on HER2 overexpressing tumor cells.
Metastatic Breast Cancer (1998): trastuzumab is FDA approved
e Incombination with paclitaxel for first-line treatment of HER2-over-
expressing metastatic breast cancer
e Asasingle agent for treatment of HER2-overexpressing breast cancer
in patients who have received one or more chemotherapy regimens for
metastatic disease
Adjuvant Breast Cancer (2006): trastuzumab is FDA approved for adjuvant
treatment of HER2 overexpressing node positive or node negative (ER/PR
negative or with one high risk feature breast cancer
e As part of a treatment regimen consisting of doxorubicin,
cyclophosphamide and either paclitaxel or docetaxel
e With docetaxel and carboplatin
e Asasingle agent following multi-modality anthracycline-based
therapy
Metastatic Gastric Cancer (2013): trastuzumab is FDA approved in
combination with cisplatin and capecitabine or 5-fluorouracil, for the treatment
of patients with HER2-overexpressing metastatic gastric or gastroesophageal
junction adenocarcinoma, who have not received prior treatment for metastatic
disease
Available a lyophilized powder of 440 mg in a multidose vial

LJREMS [X]NoREMS [] Postmarketing Requirements
See Other Considerations for additional REMS information
Pregnancy Category D

FDA-approval in 1998 (prior to current formulary review process)

Issues to be determined:

What role does trastuzumab have in HER2 overexpressing breast and gastric
cancers?

What safety issues need to be considered?

 

Other therapeutic options

 

Formulary Alternatives

 

 

HER2-directed agents Other Considerations
None
Non-formulary Alternatives
HER2-directed agents Other Considerations

 

 

December 2014

Updated version may be found at www.pbm.va.gov or vaww.pbm.va.gov 1
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 84 of 100

Trastuzumab Monograph

 

 

 

Lapatinib Oral formulation; TKI against EGFR1 and HER2
Injectable; administered in combination with
Pertuzumab trastuzumab
Injectable; Antibody-Drug Conjugate; activity
Ado-trastuzumab emtansine post-trastuzumab

 

 

Efficacy (FDA Approved Indications)
Literature Search Summary

A literature search was performed on PubMed/Medline with focus over the last 10 years using the search terms:
meta-analysis, trastuzumab, adjuvant therapy, early breast cancer, metastatic breast cancer, metastatic gastric cancer.
The search was limited to studies performed in humans and published in the English language. Reference lists of
review articles were searched for relevant clinical trials. All randomized controlled trials published in peer-reviewed
journals were included.

Review of Efficacy

Trastuzumab (H) in the Adjuvant Treatment of HER2-Positive Early Breast Cancer (Refer to Table 1)

e A meta-analysis of RCTs was performed to compare adjuvant trastuzumab therapy to observation for patients
with HER2-positive early breast cancer. Viani, et al. identified five randomized trials for inclusion. The
analysis indicated there was a significant improvement in mortality, recurrence, metastases and secondary
tumors (other than breast) with one year of trastuzumab therapy. Cardiac toxicity and brain metastases were
significantly more common among those receiving trastuzumab.”

e Yin, et al. performed a meta-analysis to assess the benefits of concurrent vs. sequential trastuzumab with
adjuvant therapy. Utilizing six eligible studies, the analysis indicates that trastuzumab provided benefit with
regard to DFS, OS, locoregional and distant recurrence. CNS recurrence rate was higher in those receiving
trastuzumab. Patients receiving concomitant trastuzumab had statistically significant improvements in OS while
a higher incidence of CNS recurrence, as compared to the sequential trastuzumab patients who did not achieve
significance with regard to OS or CNS recurrence. These findings suggest that concomitant trastuzumab is
superior to sequential, with the possibility that CNS recurrence is secondary to prolonged survival.*

e A Cochrane review of trastuzumab-containing regimens for early breast cancer included eight trials and a total
of 11,991 patients. The intent of the analysis was to evaluate the evidence of efficacy and safety with
trastuzumab in the adjuvant setting and its relation to duration and schedule of administration (concurrent vs.
sequential). The authors concluded that overall trastuzumab significantly improved OS and DFS in HER2-
positive women with early stage breast cancer. Cardiovascular risk, in term of increased risk of CHF and LVEF
decline, is increased with trastuzumab therapy. Due to the small numbers of included studies, no conclusions
can be made about the schedule of administration.*

 

December 2014
Updated version may be found at www.pbm.va.gov or vaww.pbm.va.gov 2
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 85 of 100

Table 1. Meta-analyses (MA) of Adjuvant Trastuzumab (H) in Early Breast Cancer (EBC)

Trastuzumab Monograph

 

 

 

 

MA of RCTs
evaluating efficacy
& safety of H in
adjuvant or neo-
adjuvant setting of
EBC

8 trials;
N= 11,991

 

 

 

 

 

 

 

 

 

 

Citation HERA BCIRG FinHer NCCTG NSABP PACS NOAH Buzdar Results
006 N9831 B31 04

Viani, 20077 X 4 xX X xX Adjuvant H vs. obs in EBC
Mortality rate (p<0.00001)

MA of RCTs Recurrence rate (p<0.00001)

comparing Second other tumors (p=0.007)

adjuvant H vs. obs Metastases rate (p<0.00001)
CV tox (grade 3,4): 4.5 vs. 1.8%

5 trials: Brain mets: 54 vs. 30 events;

N= 9117 OR 1.82

Yin, 2011° xX X X X X xX Adjuvant H (Concur vs. Seq) vs.
control

MA of RCTs DFS: OR 0.69 (0.59-0.80);

evaluating p<0.001

adjuvant chemo OS: OR 0.69 (0.58-0.83) vs. 0.86

with (concurrent (0.73-1.01)

vs. sequential) H CNS Recurrence rate: OR 1.58

vs.no H (1.08-2.30)
Distant recurrence: OR 0.62

6 trials; (0.55-0.69)

N = 13,952

Moja, 2012° xX Xx xX Xx X Xx X Xx Adjuvant H (Concur vs. Seq) vs.

control

OS: HR 0.66 (0.57-0.77);
p<0.00001

DFS: HR 0.60 (0.50-0.71);
p<0.00001)

Risk of CHF: RR 5.11 (90% Cl: 3-
8.72); p<0.00001

Risk of LVEF: RR 1.83 (90% Cl:
1.36-2.47); p=0.0008

 

Trastuzumab (H) in the Treatment of HER2-Positive Metastatic Breast Cancer

A Cochrane review was performed to evaluate the safety and efficacy of trastuzumab in the metastatic breast cancer
setting. The review included RCTs that evaluated trastuzumab alone or in combination with cytotoxic
chemotherapy or hormonal therapy. A total of 7 trials with 1497 patients met the inclusion criterion. For the
endpoint of OS, five of 7 trials reported this outcome with an improvement in overall survival by 5-8 months in the
trastuzumab-containing arms compared to control arms OS [HR 0.82 (0.71-0.94) p=0.004]. Three trials evaluated
trastuzumab in the first-line MBC setting, while two trials considered trastuzumab beyond progression. OS was
improved in the first-line setting [HR 0.79 (0.67-0.94); p=0.006], while OS beyond progression was not significantly
different [HR 0.87 (0.68-1.12) p=0.27]. Progression-free survival (PFS) was evaluated in all 7 trials. Trastuzumab
extended PFS from 2-11 months compared to control [HR 0.61 (0.54-0.70) p<0.00001]. The benefit was noted as

significant whether trastuzumab was given in the first-line or beyond progression setting.

 

December 2014

Updated version may be found at www.pbm.va.gov or vaww.pbm.va.gov

 
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 86 of 100

Trastuzumab Monograph

Trastuzumab (H) in the Treatment of HER2-Positive Metastatic Gastric Cancer

FDA-approval of trastuzumab for the treatment of HER2-overexpressing metastatic gastric or gastroesophageal
junction (GEJ) adenocarcinoma comes from the ToGA (Trastuzumab for Gastric Cancer) trial. In an open-label,
international (including Asia, Central and South America, Europe), phase 3 RCT, patients with overexpressed HER2
gastric or GEJ cancer who had not received previous treatment, were randomized 1:1 to either trastuzumab +
chemotherapy (capecitabine + cisplatin or 5-fluorouracil + cisplatin) vs. chemotherapy alone. The primary endpoint
of OS was significantly improved with the addition of trastuzumab compared to chemotherapy alone, 13.8 vs. 11.1
months [HR 0.74 (0.60-0.91); p=0.0046]. Median PFS was also improved, 6.7 vs. 5.5 months, respectively [HR
0.71 (0.59-0.85); p=0.0002]. A pre-planned exploratory analysis evaluating degree of HER2 expression and
response suggested that the improvement in OS with trastuzumab was greater in those with higher expression of the
HER? protein (IHC 2+/FISH positive or IHC 3+), compared to those with low expression (IHC 0 or 1+/FISH
positive) with median OS 16 months vs. 11.8 months [HR 0.65 (0.51-0.83)].°

Potential Off-Label Use

The following trials can be found in www.clinicaltrials.gov unless otherwise noted:

e Intrathecal trastuzumab trials for the treatment of leptomeningeal metastases and carcinomatosis meningitis in
breast cancer.

e A Phase III Clinical Trial to Evaluate Patient’s Preference of Subcutaneous Trastuzumab (SC) Versus

Intravenous (IV) Administration in Patients with HER2 Positive Advanced Breast Cancer (ABC).

Everolimus, Letrozole and Trastuzumab in HR- and HER2/Neu-positive Breast Cancer Patients

Evaluation of Carboplatin/Paclitaxel With and Without Trastuzumab (Herceptin) in Uterine Serous Cancer

Efficacy and Safety Study of Trastuzumab, Paclitaxel and Carboplatin on HER2+ Preoperative Breast Cancer

Evidence to support the addition of HER2-directed agents to neoadjuvant therapy in HER2-positive breast

cancer is based upon the primary endpoint of pathologic complete response rate (pCR). Evidence from the

NOAH trial (neoadjuvant chemotherapy with trastuzumab trial), which compared 1 year of treatment with

trastuzumab (neoadjuvant and adjuvant) with no trastuzumab showed that 3-year event-free survival was

improved with trastuzumab [71 vs. 56%; HR 0.59 (0.38-0.90); p=0.013]. Follow-up to this trial was presented
at the ASCO 2013 Annual Meeting. After a median follow-up of 5.4 years, the benefit of improved EFS with
trastuzumab was confirmed. The authors note a trend in improved OS.”*

e Use of trastuzumab in combination with chemotherapy regimens other than cisplatin and a fluoropyrimidine for
first-line treatment of gastric or GEJ cancer. An observational study was conducted to evaluate the use of
trastuzumab in HER2-positive metastatic gastric cancer. Data from a total of 110 patients was collected over a
2-year period. Only 28% of the population received trastuzumab as labeled with cisplatin and 5-FU or
capecitabine. The rest of the patients received the following regimens: cisplatin, 5-FU, leucovorin (17%); 5-
FU, leucovorin, oxaliplatin and docetaxel (8%), 5-FU, leucovorin and oxaliplatin (7%), capecitabine (6%) or
other combinations (25%). The preliminary PFS was 6.8 months, which the authors note, is consistent with the
6.7 month PFS noted in the ToGA trial.”

e Use of trastuzumab in Non-Small Cell Lung Cancer is categorized as an NCCN 2B recommendation (defined as
based upon low level of evidence with consensus that the intervention is appropriate) for patients with HER2
mutations.

 

December 2014
Updated version may be found at www.pbm.va.gov or vaww.pbm.va.gov 4
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 87 of 100

Trastuzumab Monograph

 

Safety
(for more detailed information refer to the product package insert)
Comments
Boxed Warning e Cardiomyopathy: Trastuzumab can result in sub-clinical and clinical cardiac

failure manifesting as CHF, and decreased LVEF, with greatest risk when
administered concurrently with anthracyclines. Evaluate cardiac function
prior to and during treatment. Discontinue trastuzumab for cardiomyopathy.
Infusion reactions, pulmonary toxicity: Discontinue trastuzumab for
anaphylaxis, angioedema, interstitial pneumonitis or acute respiratory
distress syndrome.

Embryo-Fetal Toxicity: Exposure to trastuzumab during pregnancy can
result in oligohydramnios, in some cases complicated by pulmonary
hypoplasia and neonatal death.

 

Contraindications e

None

 

Warnings/Precautions °

Cardiomyopathy. Trastuzumab can cause LV cardiac dysfunction,
arrhythmias, hypertension, disabling cardiac failure, cardiomyopathy and
cardiac death; asymptomatic declines in LVEF are also known effects; the
highest incidence of cardiac dysfunction is noted when trastuzumab is given
with an anthracycline. Trastuzumab should be withheld in situations where
there is > 16% absolute decrease in LVEF from baseline values or an LVEF
value that is below institutional limits of normal and > 10% absolute
decrease from baseline values. The following monitoring schedule is
recommended:
o Baseline cardiac assessment including history, physical exam and
LVEF via echocardiogram or MUGA scan
o Baseline LVEF immediately prior to start of trastuzumab
o LVEF every 3 months during and upon completion of trastuzumab
o LVEF at 4-week intervals if trastuzumab is held for significant LV
dysfunction
o LVEF every 6 months for at least 2 years following completion of
trastuzumab for adjuvant therapy
Infusion Reactions. Serious and fatal infusion reactions have been reported
among postmarketing data. Severe reactions may include bronchospasm,
anaphylaxis, angioedema, hypoxia and severe hypotension. The onset and
clinical course of the reactions are variable. Fatalities occurred within hours
to days following a serious reaction. Trastuzumab should be interrupted in
all patients that experience dyspnea and significant hypotension. Emergent
medical therapy may be needed, such as epinephrine, corticosteroids,
diphenhydramine, bronchodilators and oxygen. Monitor and evaluate
patients until complete resolution of all signs and symptoms. Permanent
discontinuation should be considered in all patients with severe infusion
reactions. Pre-medication with antihistamines and/or corticosteroids should
be considered if therapy is to resume, recognizing that recurrent reactions are
possible despite pre-medication.
Embryo-fetal Toxicity. Trastuzumab can cause fetal harm when administered
to a pregnant woman. Cases of oligohydramnios and oligohydramnios
sequence manifesting as pulmonary hypoplasia, skeletal abnormalities and
neonatal death have been noted in post-marketing reports. Women of child-
bearing potential should be advised of the potential hazard to the fetus
resulting from trastuzumab exposure during pregnancy and provided
contraception counseling.
Pulmonary Toxicity. Trastuzumab use can result in serious and fatal
pulmonary toxicity. Pulmonary toxicity can occur as sequelae of an infusion
reaction. Those with symptomatic intrinsic lung disease or extensive tumor

 

 

December 2014

Updated version may be found at www.pbm.va.gov or vaww.pbm.va.gov 5
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 88 of 100

Trastuzumab Monograph

 

involvement of the lungs, that results in dyspnea at rest, appear to experience
greater lung toxicity.

e Exacerbation of Chemotherapy-induced Neutropenia. The incidences of
Grade 3 or 4 neutropenia and febrile neutropenia were higher in the patients
who received trastuzumab and myelosuppressive chemotherapy compared to
those who received chemotherapy alone.

e HER2 Testing. HER2 protein overexpression is necessary for patient
selection for trastuzumab therapy as these are the only patients studied and
for whom a benefit has been shown. Use FDA-approved tests for the
specific tumor types (breast vs. gastric) as there are differences in the tumor
histopathology. HER2 status should be performed by laboratories proficient
in utilizing FDA-approved tests to obtain reliable results.

 

Safety Considerations

e

HER? testing is essential to determine if patients are appropriate for trastuzumab therapy. Selected laboratories
need to be proficient with IHC and FISH technology to ensure reliable results.

Look Alike Sound Alike potential for medication errors due to similarity in names between trastuzumab and
ado-trastuzumab emtansine.

Risk for cardiomyopathy and potential for reduced LVEF are major considerations prior to initiation of
trastuzumab therapy. Whether trastuzumab is administered as a single agent or as part of a treatment plan that
includes anthracyclines, some degree of myocardial dysfunction can be expected. Appropriate cardiac
monitoring is essential throughout the course of therapy.

Risk of embryo-fetal toxicity, as exposure can result in embryo-fetal death or birth defects. Advise patients of
these risks and the need for effective contraception. Perform a pregnancy test before initiating therapy in
women of childbearing potential and periodically throughout treatment if risk of pregnancy is questionable.
Trastuzumab can potentiate the risk of chemotherapy-induced neutropenia when given as part of a treatment
plan that includes myelosuppressive chemotherapy. Anticipation of Grade 3, 4 neutropenia and possibly febrile
neutropenia should be a consideration prior to initiating therapy with trastuzumab and chemotherapy.
Infusion-related reactions can be severe and fatal. The onset and clinical course of these reactions has been
variable. Trastuzumab infusions should be interrupted for symptomatic patients with careful monitoring until
complete resolution. Pre-medication with antihistamines and/or corticosteroids may need to be considered.
Within the Cochrane review in MBC, all 7 trials reported data on cardiovascular events. Congestive heart
failure and cardiac dysfunction NYHA class III and IV events were combined. Overall, trastuzumab use was
associated with an increased risk of severe cardiac events [RR 3.49 (1.88-6.47) p=0.0009]. When comparing
the type of regimen with cardiac toxicity, trastuzumab with an anthracycline significantly increased risk [RR
5.43 (90% CI 2.28-12.94) p=0.001]. Evaluation of LVEF decline was reported in 6 trials. The pooled analysis
indicates an increased risk of decline with trastuzumab [RR 2.65 (90% CI 1.48-4.74) p=0.006]. Risk of LVEF
decline was noted in both first-line and beyond-progression settings.

The ToGA trial reported that Trastuzumab + chemotherapy vs. chemotherapy alone had similar adverse effect
profiles. Nausea, neutropenia, vomiting and anorexia were the most common reported events. Grade 3 or 4
events were similar, except for diarrhea, which was reported in a higher number of trastuzumab patients (9 vs.
4%). Rates of grade 3 or 4 cardiac events were similar between both groups and were noted in a minority of
patients (6 vs. 6%).°

Use of intrathecal trastuzumab (off-label) will require drug reconstitution with preservative-free diluent, NOT
the diluent included from the manufacturer in packaging, which contains 1.1% benzyl alcohol.

 

December 2014
Updated version may be found at www.pbm.va.gov or vaww.pbm.va.gov 6
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 89 of 100

Adverse Reactions
Common adverse reactions

Death/Serious adverse reactions

Trastuzumab Monograph

Adjuvant and metastatic breast cancer setting: fever, nausea, vomiting,
infusion reactions, diarrhea, infections, increased cough, headache, fatigue,
dyspnea, rash, neutropenia, anemia, myalgia

Metastatic gastric cancer setting: neutropenia, diarrhea, fatigue, anemia,
stomatitis, weight loss, upper respiratory tract infections, fever,
thrombocytopenia, mucosal inflammation, nasopharyngitis, dysgeusia

Severe infusion reactions, neutropenia, infection/febrile neutropenia, pulmonary
toxicity, diarrhea, CHF or symptomatic decrease in LVEF

 

Discontinuations due to adverse
reactions

Adjuvant and metastatic breast cancer setting: CHF, significant decline in LV
cardiac function, severe infusion reactions, pulmonary toxicity
Metastatic gastric cancer setting: infection, diarrhea, febrile neutropenia

 

Drug Interactions

 

Drug-Drug Interactions

e Anthracyclines (doxorubicin, epirubicin, etc.): Avoid use with trastuzumab due to potential of increasing risk of

cardiotoxicity.

e Paclitaxel: Mean serum concentration of trastuzumab is increased when administered with paclitaxel.
e Myelosuppressive chemotherapy: Trastuzumab therapy can increase risk of neutropenia.

Risk Evaluation
As of November 24, 2014

Comments

 

Sentinel event advisories

e No sentinel event advisories. Alerts are related to the name similarity
between trastuzumab and ado-trastuzumab emtansine.
e Sources: ISMP, FDA, TJC

 

Look-alike/sound-alike error

e Sources: Based on clinical judgment and an evaluation of LASA information

 

 

 

 

 

 

 

 

 

 

 

potentials from three data sources (Lexi-Comp, First Databank, and ISMP Confused
Drug Name List)
NME Drug Lexi-Comp First ISMP Clinical
Name DataBank Judgment
Trastuzumab | Ado- None Ado- Alemtuzumab
440mg MDV trastuzumab trastuzumab Tocilizumab
emtansine emtansine Trametinib
Pertuzumab
Herceptin None None None Heparin
Hepsera
Hespan
Sources: Based on clinical judgment and an evaluation of LASA information
from three data sources (Lexi-Comp, First Databank, and ISMP Confused Drug
Name List)
'High alert medication: The Institute for Safe Medication Practices (ISMP)
includes this medication among its list of drug classes which have a heightened
risk of causing significant patient harm when used in error.
December 2014

Updated version may be found at www.pbm.va.gov or vaww.pbm.va.gov 7
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 90 of 100

Trastuzumab Monograph

Other Considerations
General

HER? testing is essential to determine if patients are appropriate for trastuzumab therapy in any setting.
Selected laboratories need to be proficient with IHC and FISH technology to ensure reliable results in both
breast and gastric/GEJ cancer settings.'* '°

Look Alike Sound Alike potential for medication errors due to similarity in names between trastuzumab and
ado-trastuzumab emtansine.

Neoadjuvant / Adjuvant Therapy

The VHA UNDER SECRETARY FOR HEALTH’S INFORMATION LETTER Guidance on Breast Cancer
Care (draft dated 10-2014) states that trastuzumab should be considered for all patients with HER2 amplified or
over-expressed breast cancer in the adjuvant setting, except for very low risk disease. Current data support the
optimal duration of trastuzumab treatment is one year."

The National Comprehensive Cancer Network (NCCN) Guidelines include trastuzumab as a component of
adjuvant therapy (Category 1 recommendation) in HER2-positive tumors that are either node-positive or node-
negative with tumor > lcm.

The National Institute for Health and Care Excellence (NICE) evidence review group summarized the clinical
and cost-effectiveness of trastuzumab in HER2-positive primary breast cancer, supporting the use of
trastuzumab for one year or until disease recurrence in patients following surgery, chemotherapy and
radiotherapy."

MBC Setting

The American Society of Clinical Oncology (ASCO) Guidelines on Systemic therapy for patients with
advanced HER2-positive breast cancer support the use of HER2-targeted therapy-based combinations as first-
line, second-line and third-line treatment.'4

Evidence GRADE. First-line setting. Evidence quality: high; strength of recommendation: strong

Evidence GRADE. Second-line setting. Evidence quality: high; strength of recommendation: strong

Evidence GRADE. Third-line setting. Evidence quality: intermediate; strength of recommendation: moderate
The combination of trastuzumab, pertuzumab and a taxane is recommended for first-line therapy, unless
contraindication to taxanes exist.

Evidence GRADE. Evidence quality: high; strength of recommendation: strong

The National Comprehensive Cancer Network (NCCN) Guidelines include trastuzumab either alone or in
combination with other agents in the recurrent or metastatic breast cancer setting. A Category 1
recommendation is given to the combination of pertuzumab, trastuzumab and docetaxel as a preferred first-line
regimen in this setting. Trastuzumab alone or in combination with other cytotoxic agents are given a Category
2A recommendation.’

The optimal duration and ideal sequence of HER2-targeted therapy in MBC is unknown at this time.

Gastric/Gastroesophageal Junction Adenocarcinoma Setting

The benefit of trastuzumab correlated with strong positivity of HER2 status.°

FDA approval is based upon use of trastuzumab with a cisplatin and fluoropyrimidine-based regimen. NCCN
guidelines categorize a cisplatin/fluoropyrimidine-based regimen as Category 1, while other active regimens are
Category 2A."°

 

December 2014
Updated version may be found at www.pbm.va.gov or vaww.pbm.va.gov 8
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 91 of 100

Dosing and Administration

Trastuzumab Monograph

e Refer to the package insert for full dosing information.

Special Populations (Adults)

Comments

 

Elderly

Among the adjuvant and metastatic breast cancer trials, the risk of
cardiac dysfunction was increased in patients over age 65 years
compared to younger patients. The reported clinical experience in
breast cancer is not adequate to determine if there is a difference
between young and old populations.

No differences in safety or effectiveness were noted between elderly
and young patients in the metastatic gastric cancer setting.

 

Pregnancy

Lactation

Renal Impairment

Hepatic Impairment
Pharmacogenetics/genomics

Pregnancy Category D. Fetal harm can result when trastuzumab is
given to a pregnant woman. Cases of oligohydramnios and
oligohydramnios sequence manifesting as pulmonary hypoplasia,
skeletal abnormalities and neonatal death have been noted in post-
marketing reports. Monitor pregnant women exposed to trastuzumab
for oligohydramnios, Consider fetal testing appropriate for
gestational age and consistent with community standards. Advise
women of the potential of harm to her fetus subsequent to
trastuzumab exposure.

It is not known if trastuzumab is excreted in human milk, but IgG is;
a decision concerning the importance of the drug to the mother with
the potential risk to the nursing infant should be addressed.

No specific recommendations for renal impairment have been noted;
renal toxicity was identified in the metastatic gastric cancer trial as
well as rare cases of nephrotic syndrome identified through post-
marketing studies.

No data identified.

No data identified.

 

December 2014

Updated version may be found at www.pbm.va.gov or vaww.pbm.va.gov 9
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 92 of 100

Trastuzumab Monograph

Projected Place in Therapy

Adjuvant Therapy Setting in EBC

The VHA UNDER SECRETARY FOR HEALTH’S INFORMATION LETTER Guidance on Breast Cancer
Care (draft dated 10-2014) states that trastuzumab should be considered for all patients with HER2 amplified or
over-expressed breast cancer in the adjuvant setting, except for very low risk disease. Current data support the
optimal duration of trastuzumab treatment is one year.

The National Comprehensive Cancer Network (NCCN) Guidelines include trastuzumab as a component of
adjuvant therapy (Category 1 recommendation) in HER2-positive tumors that are either node-positive or node-
negative with tumor > lcm.

Neoadjuvant (Preoperative) Therapy Setting in EBC

Evidence to support the addition of HER2-directed agents to neoadjuvant therapy in HER2-positive breast
cancer is based upon the primary endpoint of pathologic complete response rate (pCR).

MBC Setting

The American Society of Clinical Oncology (ASCO) Guidelines on Systemic therapy for patients with
advanced HER2-positive breast cancer support the use of HER2-targeted therapy-based combinations as first-
line, second-line and third-line treatment.'*

The National Comprehensive Cancer Network (NCCN) Guidelines include trastuzumab either alone or in
combination with other agents in the recurrent or metastatic breast cancer setting. A Category 1
recommendation is given to the combination of pertuzumab, trastuzumab and docetaxel as a preferred first-line
regimen in this setting. Trastuzumab alone or in combination with other cytotoxic agents are given a Category
2A recommendation.'*

Metastatic Gastric/GEJ Adenocarcinoma Setting

FDA approval is based upon use of trastuzumab with a cisplatin and fluoropyrimidine-based regimen. NCCN
guidelines categorize a cisplatin/fluoropyrimidine-based regimen as Category 1, while other active regimens are
Category 2A.

 

December 2014
Updated version may be found at www.pbm.va.gov or vaww.pbm.va.gov 10
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 93 of 100

Trastuzumab Monograph

References
1. Herceptin [prescribing information]. South San Francisco, CA: Genentech, Inc. September 1998; revision June 2014.

2. Viani GA, Afonso SL, Stefano EJ, DeFendi LI, Soares FV. Adjuvant Trastuzumab in the Treatment of HER2-Positive Early Breast Cancer: A Meta-
Analysis of Published Randomized Trials. BMC Cancer 2007; 7: 153.

3. Yin W, Jiang Y, Shen Z, Shao Z, Lu J. Trastuzumab in the Adjuvant Treatment of HER2-Positive Early Breast Cancer Patients: A Meta-Analysis of
Published Randomized Controlled Trials. PLoS ONE 2011; 6:e21030

4. MojaL, Tagliabue L, Balduzzi S, Parmelli E, Pistotti V, Guarneri V, D’Amico R. Trastuzumab containing regimens for early breast cancer. Cochrane
Database of Systematic Reviews 2012; Issue 4. Art. No.: CD006243.

5. Balduzzi S, Mantarro S, Guarneri V. et al. Trastuzumab-Containing Regimens for Metastatic Breast Cancer. Cochrane Database Syst Rev. 2014; 6:
CD006242.

6. Vang YJ, et al. for the ToGA Trial Investigators. Trastuzumab in Combination with Chemotherapy versus Chemotherapy alone for Treatment of
HER2-positive Advanced Gastric or Gastro-oesophageal Junction Cancer (ToGA): A Phase 3, open-label, Randomized, Controlled Trial. Lancet 2010:
376: 687.

7. Gianni L, Eierman W, Semiglazov V, et al. Neoadjuvant chemotherapy with trastuzumab followed by adjuvant trastuzumab versus neoadjuvant
chemotherapy alone, in patients with HER2-positive locally advanced breast cancer (NOAH trial): a randomized controlled superiority trial with a
parallel HER2-negative cohort. Lancet 2010; 375: 377.

8. Gianni L, Eiermann W, Semiglazov V, et al. Follow-up results of NOAH, a randomized phase III trial evaluating neoadjuvant chemotherapy with
trastuzumab followed by adjuvant H versus CT alone, in patients with HER2-positive locally advanced breast cancer. J Clin Oncol 2013; 31 (suppl;
abstr 503).

9. | Hegewisch-Becker S, Moorahrend E, Kroning H, et al. Trastuzumab in combination with different first-line chemotherapies for treatment of HER2-
positive metastatic gastric or gastroesophageal junction cancer (MGC): Findings from the German noninterventional observational study HerMES. J
Clin Oncol 2012; suppl; abstr 4065.

10. Wolff AC, et al. Recommendations for Human Epidermal Growth Factor Receptor 2 Testing in Breast Cancer: American Society of Clinical
Oncology/College of American Pathologists Clinical Practice Guideline Update. Journal of Clinical Oncology 2013; 31: 3997.

11. Department of Veterans Affairs, Veterans Health Administration. UNDER SECRETARY FOR HEALTH’S INFORMATION LETTER Guidance on
Breast Cancer Care. Draft dated 10-2014

12. National Comprehensive Cancer Network (NCCN) Clinical Practice Guidelines in Oncology, Breast Cancer (version 3.2014).
http://www.nccn.org/professionals/physician_gls/pdf/breast.pdf (Accessed November 2014).

13. Ward S, Pilgrim H, Hind D. Trastuzumab for the Treatment of Primary Breast Cancer in HER2-Positive Women: A Single Technology Appraisal.
Health Technol Assess 2009; 13. Suppl 1:1-6. doi: 10.3310/htal3suppl1/01.

14. Giordano SH, Temin S, Kirshner JJ, et al. Systemic Therapy for Patients with Advanced Human Epidermal Growth Factor Receptor-2-Positive Breast
Cancer: American Society of Clinical Oncology Clinical Practice Guideline. J Clin Oncol 2014; 32: 2078.

15. Ross JS, Mulcahy M. HER2 Testing in Gastric/Gastroesophageal Junction Adenocarcinomas: Unique Features of a Familiar Test. Gastrointestinal
Cancer Research 2011; 4: 62.

16. National Comprehensive Cancer Network (NCCN) Clinical Practice Guidelines in Oncology, Gastric Cancer (version 1.2014).
http://www.nccn.org/professionals/physician_gls/pdf/gastric.pdf (Accessed November 2014).

17. Plana, et al. Expert Consensus for Multimodality Imaging Evaluation of Adult Patients during and after Cancer Therapy: A Report from the American
Society of Echocardiography and the European Association of Cardiovscular Imaging. J Am Soc Echocardiogr 2014; 27: 911-939.

18. Cappuzzo F, Bemis L, Varella-Garcia M. HER2 Mutation and Response to Trastuzumab Therapy in Non-Small Cell Lung Cancer. N Engl J Med 2006;
354: 2619-2621

 

Prepared November/2014 Contact person: Berni Heron, Pharm.D., BCOP National PBM Clinical Pharmacy Program Manager

 

 

December 2014
Updated version may be found at www.pbm.va.gov or vaww.pbm.va.gov 11
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 94 of 100

STRICTLY CONFIDENTIAL PRE-DECISIONAL DELIBERATION Trastuzumab Monograph

INFORMATION

Appendix A: GRADEing the Evidence

Designations of Quality

Quality of evidence designation Description

High

Moderate

Low

Evidence includes consistent results from well-designed, well-
conducted studies in representative populations that directly
assess effects on health outcomes (2 consistent, higher-quality
randomized controlled trials or multiple, consistent observational
studies with no significant methodological flaws showing large
effects).

Evidence is sufficient to determine effects on health outcomes,
but the number, quality, size, or consistency of included studies;
generalizability to routine practice; or indirect nature of the
evidence on health outcomes (1 higher-quality trial with > 100
participants; 2 higher-quality trials with some inconsistency; 2
consistent, lower-quality trials; or multiple, consistent
observational studies with no significant methodological flaws
showing at least moderate effects) limits the strength of the
evidence.

Evidence is insufficient to assess effects on health outcomes
because of limited number or power of studies, large and
unexplained inconsistency between higher-quality studies,
important flaws in study design or conduct, gaps in the chain of
evidence, or lack of information on important health outcomes.

Please refer to Qaseem A, et al. The development of clinical practice guidelines and guidance statements of the
American College of Physicians: Summary of Methods. Ann Intern Med 2010;153:194-199.

 

December 2014

Updated version may be found at www.pbm.va.gov or vaww.pbm.va.gov 12
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 95 of 100

STRICTLY CONFIDENTIAL PRE-DECISIONAL DELIBERATION
INFORMATION

Appendix B: Approval Endpoints (use for oncology NMEs)

Table 1. A Comparison of Important Cancer Approval Endpoints

Trastuzumab Monograph

 

Endpoint

Regulatory Evidence

Study Design

Advantages

Disadvantages

 

Overall Survival

Clinical benefit for regular
approval

e Randomized studies
essential
¢ Blinding not essential

¢ Universally accepted direct
measure of benefit

e Easily measured

¢ Precisely measured

¢ May involve larger studies
¢ May be affected by crossover
therapy and sequential therapy
¢ Includes noncancer deaths

 

Symptom Endpoints
(patient-reported
outcomes)

Clinical benefit for regular
approval

© Randomized blinded
studies

¢ Patient perspective of direct
clinical benefit

° Blinding is often difficult

e Data are frequently missing or
incomplete

° Clinical significance of small
changes is unknown

¢ Multiple analyses

¢ Lack of validated instruments

 

Disease-Free Survival

Surrogate for accelerated
approval or regular
approval*

¢ Randomized studies
essential

¢ Blinding preferred

° Blinded review
recommended

¢ Smaller sample size and shorter
follow-up necessary compared
with survival studies

¢ Not statistically validated as
surrogate for survival in all settings
¢ Not precisely measured; subject
to assessment bias, particularly in
open-label studies

¢ Definitions vary among studies

 

Objective Response Rate

Surrogate for accelerated
approval or regular
approval*

¢ Single-arm or
randomized studies can
be used

° Blinding preferred in
comparative studies

¢ Blinded review
recommended

¢ Can be assessed in single-arm
studies

¢ Assessed earlier and in smaller
studies compared with survival
studies

¢ Effect attributable to drug, not
natural history

¢ Not a direct measure of benefit
in all cases

e Not a comprehensive measure of
drug activity

¢ Only a subset of patients with
benefit

 

Complete Response

Surrogate for accelerated
approval or regular
approval*

¢ Single-arm or
randomized studies can
be used

¢ Blinding preferred in
comparative studies

¢ Blinded review
recommended

¢ Can be assessed in single-arm
studies

¢ Durable complete responses can
represent clinical benefit

¢ Assessed earlier and in smaller
studies compared with survival
studies

¢ Not a direct measure of benefit
in all cases

¢ Not a comprehensive measure
of drug activity

e Small subset of patients with
benefit

 

 

Progression- Free
Survival (includes all
deaths) or Time to
Progression (deaths
before progression
censored)

 

Surrogate for accelerated
approval or regular
approval*

 

° Randomized studies
essential

¢ Blinding preferred

© Blinded review
recommended

 

¢ Smaller sample size and shorter
follow-up necessary compared
with survival studies

¢ Measurement of stable disease
included

° Not affected by crossover or
subsequent therapies

© Generally based on objective
and quantitative assessment

 

© Not statistically validated as
surrogate for survival in all settings
e Not precisely measured; subject
to assessment bias particularly in
open-label studies

¢ Definitions vary among studies
© Frequent radiological or other
assessments

e Involves balanced timing of
assessments among treatment
arms

 

*Adequacy as a surrogate endpoint for accelerated approval or regular approval is highly dependent upon other factors such as effect size, effect
duration, and benefits of other available therapy. See text for details.
Guidance for Industry: Clinical Trial Endpoints for the Approval of Cancer Drugs and Biologics. U.S. Department of Health and Human Services,
Food and Drug Administration, Center for Drug Evaluation and Research (CDER), Center for Biologics Evaluation and Research (CBER), May

2007.

 

December 2014
Updated version may be found at www.pbm.va.gov or vaww.pbm.va.gov

13

 
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 96 of 100

EXHIBIT 10
 

Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 97 of 100
Case 4:15-cv-00157-TCK-TLW Document 109-1 Filed in USDC ND/OK on 06/30/16 Page 1 of 1

Hope this helps.
Jeff

TS om
5 ep 762:19 -07

From. Tam. hite <twhite@gene.cOM> 72¢. e716 -[/ : .
rganization; Genentech, inc. Ctiléch’s Herceptin Prodcction
To: Olivia Ware <ware.olivia@gene.COM> En .

CC: William Henry Smith <smith.willlam@gene.COM> ql neer

The following data should correct the misconception of the pharmacy
department at US Oncology that we are not filling 440 mg of Herceptin in
our vials. Their assumption is based on the package insert statement
that the concentration of Herceptin in the vial Is 21 mg/ml and it is
reconstituted with 20 mi of diluent.

(21 x 20+_ 0.5 mi = 409.5 to 430.5mg)

tn actuality we fill 18 mi of bulk solution at a concentration of 25

mgs/mi into the vial and fyophilize. We therefore target 450 mg in a
vial (and nominally state 440 mg). (18 x 25 = 450 mg)
Our technical report supporting the IND Studies of Lyophilized
Multi-dose Her2 Formulation written in 1988 states that the
reconstituted volume after adding 20 mi of diluent is actually about
20.6 mi due to the volume expansion of the solids present in the vial.
Hence the theoretical concentration of the reconstituted product is
actually 21.8 mg/ml. (450 mo/20.6 mi = 21.8mg) After intemal
discussion in 1998, it was decided to round down the concentration in ¥
the insert to the nearest whole number rather than round up to
concentration we in fact do not ac! fie. 22mgiml). [believe this
Is Ti Source of the confusion.
Whereas we e between 440 In our vials they
calculate that it is less.
(21.8 mg/ml x 20.6 mf) vs (21 mg/m! x 20 ml)

Let me know if this fully addresses their concern or if further
explanation is necessary.

 
 
 

   
     
 

 
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 98 of 100

EXHIBIT 11
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 99 of 100

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

UNITED STATES DISTRICT COURT FOR THE

NORTHERN DISTRICT OF OKLAHOMA

IN RE: GENENTECH HERCEPTIN )
(TRASTUZUMAB) MARKETING AND ) Case No. 16-MD-2700-TCK-TLW
SALES PRACTICES LITIGATION. ) ALL CASES

TRANSCRIPT OF RECORDED PROCEEDINGS
NOVEMBER 17, 2016
BEFORE THE HONORABLE T. LANE WILSON, MAGISTRATE JUDGE PRESIDING

MOTION HEARING

 

Greg Bloxom, RMR, CRR

United States Court Reporter
Northern District of Oklahoma

 
Case 4:17-cv-00293-TCK-JFJ Document 2 Filed in USDC ND/OK on 05/24/17 Page 100 of 100

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

In Re: Genentech Herceptin (11-17-2016 Motion Hearing) 43

 

 

submit proposed changes for approval to the FDA. That's what
that document shows.

THE COURT: Okay. Right, right, but let me -—-

MS. DONAHUE: So let me just finish. Sorry. I'm
sorry. I'll get to your point. So my point would be that, two
things. Number one, complaints about, "We're not getting, you
know, the 440 from a customer, from anyone, or internal
communications that Genentech somehow knew because it did that
people were complaining about that," we've produced to them
certificates of analysis that show that in every lot released
in the United States, we were below 440. Almost every. Ninety
percent, I think they said. So we knew. I mean, what they
want goes to notice and knowledge, and I think to the extent
that's an issue, which it's not under obstacle preemption, is
what he just said, but, you know, they have that evidence. So
what more do they need? I mean, we produced our own
manufacturing documents that show we're below 440, in their
words, 90 percent of the time.

THE COURT: All right. Let me get back to -- I
understand what you're saying, but let me get back to my
question. Okay. So think of the worst document that could be
in the files that Mr. Keglovits says he's looking for, and your
position is, "I don't care how bad that document is, it doesn't
matter, this is a legal issue and we win." I mean, am I right

about that?

 

Greg Bloxom, RMR, CRR

United States Court Reporter
Northern District of Oklahoma

 
